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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

       DALANEA TAYLOR; TAMMY
       HEILMAN; DARLENE DEEGAN;
       and ROBERT A. JONES, III,

          Plaintiffs,

       vs.                          Case No.: 8:21-cv-00555-SDM-CPT

       CHRIS NOCCO, in his
       official capacity as
       Pasco County Sheriff,

         Defendant.
       ________________________/




       PROCEEDINGS:             Deposition of
                                STEPHEN HIEBERT


       DATE:                    January 12, 2022


       TIME:                    2:17 p.m. - 5:13 p.m.


       PLACE:                   New Port Richey Executive Suites
                                8520 Government Drive, Suite 1
                                New Port Richey, Florida


       REPORTED BY:             Judy Anderson, Court Reporter
                                Notary Public
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Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 2 of 119 PageID 2858
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                                                                              5


   1                          STEPHEN HIEBERT,

   2      being first duly sworn to tell the truth, the whole

   3      truth, and nothing but the truth, was examined and

   4      testified as follows:

   5              THE WITNESS:    I do.

   6                         DIRECT EXAMINATION

   7   BY MR. BARGIL:

   8        Q.    Good afternoon, sir.      How are you doing today?

   9        A.    Very well, thank you.

 10         Q.    Okay.   My name is Ari Bargil.     I'm joined this

 11    morning by my colleague Caroline Grace Brothers.          I'm

 12    going to be taking your deposition today, and I want to

 13    start by thanking you for your patience.         I'm sorry we

 14    got such a late start.

 15         A.    It's all right.

 16         Q.    Okay.   Now before we get any further, I want to

 17    make sure I am correctly pronouncing your last name.            Is

 18    it Hiebert?

 19         A.    Yes.

 20         Q.    Okay, Mr. Hiebert.      So, and you're a civilian;

 21    correct?

 22         A.    Correct.

 23         Q.    Okay.   So I will call you mister unless you

 24    have any preferred nomenclature.

 25         A.    That's good.
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                                                                              6


   1        Q.    Okay, great.    Before we really get going, I

   2   just want to explain a little bit about what we're going

   3   to be doing here today.      Have you ever had your

   4   deposition taken before?

   5        A.    Yes.

   6        Q.    Okay.   How many times?

   7        A.    Just once.

   8        Q.    Okay.   And what case -- what kind of case was

   9   that?

 10         A.    There was a suit against Pasco County.        A

 11    registered sexual offender had moved from his parents'

 12    elsewhere and then was not allowed to move back to his

 13    parents' because of the zoning.

 14         Q.    Okay.   And the City got sued and you were a

 15    witness?

 16         A.    Yes.

 17         Q.    Okay.   This is a different type of case I

 18    suppose, but some of the same ground rules will apply.

 19    I'll ask you questions.      I ask that you allow me to

 20    finish asking my question before you begin to answer it,

 21    and just the same, I will not interrupt you when you're

 22    providing your answer.      This is all going to help the

 23    court reporter get everything down so we have a nice

 24    clear record.

 25               When I ask you a yes or no question, please
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                                                                              7


   1   make sure to respond with either a yes or a no as

   2   opposed to uh-uh or uh-huh.       And of course, make sure

   3   you verbalize all of your answers rather than gesturing

   4   or shaking your head yes or shaking your head no.          Is

   5   all that clear to you?

   6        A.    Yes.

   7        Q.    Okay.   Any reason why you're not going to be

   8   able to testify truthfully here this morning?

   9        A.    No.

 10         Q.    Okay.

 11         A.    Afternoon.

 12         Q.    That's right.    Thank you.

 13               If at any point you would like to take a break,

 14    we can usually accommodate that.         The only thing that

 15    I'll probably ask you is that you answer a question if

 16    there's a question pending.       Your lawyer might interject

 17    at certain points in time to object to questions.

 18    Typically though, you will be asked to answer the

 19    question unless in the rare instance that he tells you

 20    not to.

 21               What did you do to prepare for this deposition?

 22         A.    Nothing.

 23         Q.    Okay.   Did you talk to anybody?

 24         A.    I talked with my boss this morning, asked him

 25    how long it would go.
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                                                                              8


   1        Q.     Who is your boss?

   2        A.     Larry Kraus.

   3        Q.     Okay.    When you asked him how long it would go,

   4   did you ask him how long it would go because he had

   5   already been deposed?

   6        A.     Yes.

   7        Q.     Okay.

   8        A.     Yep.

   9        Q.     Did you discuss the substance of this

 10    deposition?

 11         A.     No.

 12         Q.     Okay.    What is your educational background?

 13         A.     Bachelor's in math and physics, bachelor's in

 14    industrial engineering and management, and all but the

 15    thesis for master's, and a master's in criminal justice

 16    administration.

 17         Q.     Okay.    How many degrees do you have post

 18    graduate?

 19         A.     Just one.

 20         Q.     How long have you been with the Pasco County

 21    Sheriff's Office?

 22         A.     February it will be 16 years.

 23         Q.     Does that mean you started in about 2007?

 24         A.     Six I believe.

 25         Q.     Six?    All right.   Did you do anything before
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                                                                              9


   1   that?

   2        A.    Yes.    I was research analyst for North Dakota

   3   Department of Public Instruction for seven years, and I

   4   was a programmer for 15 years before that.

   5        Q.    Where were you a programmer?

   6        A.    Defense Logistics Agency, Library of Congress,

   7   contractor at Ore-Ida, and Blue Cross Blue Shield of

   8   North Dakota.

   9        Q.    Was the Defense Logistics Agency working for

 10    the Library of Congress, or are they separate jobs?

 11         A.    Those were separate jobs.

 12         Q.    Okay.    And some other stuff before that; right?

 13         A.    Yes.    High school teacher math and the Peace

 14    Corps.

 15         Q.    You've had a very full career.

 16         A.    Thank you.

 17         Q.    Since starting at the Sheriff's Office in 2006,

 18    what jobs have you held?      And try to -- let's try to go

 19    in order from the beginning.

 20         A.    Started out as planning and research

 21    coordinator.

 22         Q.    And what years was that?

 23         A.    That was 2006 to 2009 probably.       I don't

 24    remember exactly, two or three years.

 25         Q.    Okay.
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                                                                             10


   1           A.   And then application support analyst.      I

   2    transferred over to information technology.         And then

   3    in --

   4           Q.   Let's get the years for application support

   5    analyst.

   6           A.   That would be about 2009 through 2011, pretty

   7    close.

   8           Q.   And then to IT?

   9           A.   Yes.

  10           Q.   And what year?

  11           A.   Oh, that was for IT.

  12           Q.   Okay.

  13           A.   And then my current job started in about 2011

  14    until now, and that's a strategic analyst at

  15    intelligence-led policing.

  16           Q.   Did anyone have your current position before

  17    you?

  18           A.   No, in none of the cases.

  19           Q.   Hmm?

  20           A.   In none of the three positions.

  21           Q.   Okay.

  22                MR. BARGIL:   Tom, are you able to, to the

  23           extent possible, minimize some of the background

  24           noise?

  25                (Off-the-record discussion.)
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                                                                             11


   1    BY MR. BARGIL:

   2        Q.    Okay.    So where did you get your -- you

   3    mentioned some of the degrees you got.        What

   4    institutions did you get those from?

   5        A.    Bethel College in St. Paul, Minnesota, for the

   6    math and physics double major.

   7        Q.    Okay.

   8        A.    And North Dakota State University for the

   9    industrial engineering and management, and Saint Leo

  10    University for criminal justice administration.

  11        Q.    Out of respect for you, sir, I won't ask you

  12    what years you graduated.

  13              MR. BARGIL:    Tom, I just handed the witness the

  14        intelligence-led policing plan, which is going to be

  15        marked as Exhibit A for this deposition.

  16              (Exhibit A was marked for identification.)

  17    BY MR. BARGIL:

  18        Q.    Take a look at -- first of all, are you

  19    familiar with the document in front of you?

  20        A.    Yes.    I read it many years ago.

  21        Q.    Okay.    Did you also contribute to its creation?

  22        A.    No.

  23        Q.    Do you know who wrote this?

  24        A.    Depending on the version, it was probably

  25    Captain Ross.
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                                                                             12


   1        Q.     Okay.    Can you turn to page 57 of the document,

   2    please.    Before I ask you questions about the document,

   3    I guess I'll ask you some general questions about ILP.

   4               What is your -- how would you describe your

   5    responsibilities in your current position as a strategic

   6    analyst?

   7        A.     I assist other analysts by creating

   8    applications, and I do reports that require lots of --

   9    lots of data from the records management system and

  10    other databases that the Sheriff's Office has.

  11        Q.     What kind of reports do you create using that

  12    data?

  13        A.     Wow.    It's different every week, but quite

  14    often they're unique reports.       Like several years ago

  15    when a county commissioner wanted to explore the

  16    possibility of a four-day school week, I was asked would

  17    that require more deputies, and if so, how many.         So I

  18    made an attempt at figuring out how many would be

  19    needed.

  20        Q.     Okay.

  21        A.     Or we have K-9 deputies.     Are they more

  22    efficient or less efficient than the others and what

  23    should we do.

  24        Q.     Do you also analyze crime data?

  25        A.     Yes.
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                                                                             13


   1        Q.      What would you say is the bulk of your time

   2    devoted to?

   3        A.      The main forms of data are calls for service

   4    and case reports.      The calls for service are recorded by

   5    the call center, and the case reports are written by the

   6    deputies.     So I analyze both, but rarely do I read the

   7    written part of the reports because I'm usually dealing

   8    with mass quantities of data.

   9        Q.      Okay.   As you mentioned a moment ago, you might

  10    get an odd ball request to find out whether more

  11    deputies would be needed if there were a four-day school

  12    week; is that right?

  13        A.      Yes.

  14        Q.      Do you also get other types of requests related

  15    to people and personnel asking you to run data about

  16    them?

  17        A.      Very rarely.   The other analysts know the

  18    people in their districts, so I rarely get involved in

  19    looking at a specific person.

  20        Q.      Okay.   So you deal with the universe of data on

  21    a more general level?

  22        A.      Correct.

  23        Q.      Are you familiar with the term prolific

  24    offender?

  25        A.      Yes.
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                                                                             14


   1        Q.    What does that term mean?

   2        A.    That is an attempt to reduce crime by finding

   3    people who have been doing a lot of it.

   4        Q.    So would a -- I don't want to put words in your

   5    mouth, but would a prolific offender as you're

   6    testifying, would that be someone who is, quote,

   7    unquote, doing a lot of crime?

   8        A.    Yes.    Offending prolifically basically.

   9        Q.    Gotcha.

  10              So did you play a role in the agency's creation

  11    of the prolific offender definition?

  12        A.    I've made suggestions, but I don't make the

  13    decisions.

  14        Q.    Who do you make the suggestions to?

  15        A.    Larry Kraus or the -- there's been three

  16    previous inspectors for ILP.

  17        Q.    Okay.     And who are they?

  18        A.    Brian Prescott, Lieutenant, Tony Gallo, Justin

  19    Ross and Larry Kraus.

  20        Q.    Okay.     And at this moment Larry Kraus, is he

  21    your immediate supervisor?

  22        A.    I have an intermediate supervisor.

  23        Q.    Who is that?

  24        A.    Dave Santos.

  25        Q.    Okay.     When you say you make representations
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                                                                             15


   1    but you don't make decisions, who do you pass your

   2    recommends on to?

   3        A.    To Larry.

   4        Q.    To Larry?

   5        A.    Yeah.

   6        Q.    I asked you before about if you -- well, did

   7    you make a recommendation to Larry about how the agency

   8    should define the term prolific offender?

   9        A.    I got involved a little bit.       The initial

  10    definition was by a previous analyst.

  11        Q.    Okay.     And just so we're clear about what we

  12    mean by definition, I'm not yet talking about the

  13    scoring system.

  14        A.    Right.

  15        Q.    I'm just talking about the actual sort of

  16    verbal definition that we're going over?

  17        A.    Oh, well, that's -- that definition is similar

  18    but slightly different for many different law

  19    enforcement agencies.

  20        Q.    Okay.

  21        A.    It's a common definition across the US and

  22    other countries.

  23        Q.    We're going to be speaking only about Pasco

  24    County here today unless I specify otherwise though.

  25        A.    Uh-huh.
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                                                                             16


   1          Q.   Okay?

   2          A.   Yes.

   3          Q.   I mentioned a second ago the prolific offender

   4    scoring system.       Are you familiar with that scoring

   5    system?

   6          A.   Yes.

   7          Q.   Did you develop that scoring system?

   8          A.   I programmed it.

   9          Q.   What do you mean when you say you programmed

  10    it?

  11          A.   I took the definition and wrote it into an

  12    algorithm that then selects a list of offenders.

  13          Q.   So the system -- in a nutshell, the system

  14    assigns a score, does it not?

  15          A.   Correct.     Yes.

  16          Q.   And that score assignment system is a system

  17    that you developed?

  18          A.   Yes.

  19          Q.   That you developed mechanically, not

  20    intellectually?

  21          A.   Correct.

  22          Q.   Who developed it intellectually?

  23          A.   We looked at examples from other agencies and

  24    put together recommendations, including me, and then

  25    they were decided upon by I believe it was Tony Gallo at
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                                                                             17


   1    that time.

   2        Q.     When you say we looked at definitions for

   3    scoring systems --

   4        A.     The other analysts and I.

   5        Q.     -- who were they?

   6        A.     I don't remember at the time.      I mean, at the

   7    time they were district analysts, and then -- and then

   8    the director at that time.       Inspector is the new title

   9    for ILP.     It used to be director.

  10        Q.     Okay.     So I just want to make sure I'm getting

  11    this right.       Is it fair to say that you were asked by

  12    someone above you to help develop a scoring system to

  13    determine who the prolific offenders are?

  14        A.     Yes.

  15        Q.     And is it also fair to say that you and several

  16    other analysts got together to do that?

  17        A.     Yes.

  18        Q.     And as part of that process, you considered

  19    what other locals do?

  20        A.     Correct.

  21        Q.     Did you consider anything other than what other

  22    locals did?

  23        A.     No.

  24        Q.     Did you look at academic literature on policing

  25    or crime statistics?
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                                                                             18


   1          A.    Yes.

   2          Q.    What were some of those things that you looked

   3    at?

   4          A.    The main one was Intelligence-Led Policing the

   5    book by Jerry Ratcliffe.

   6          Q.    Were you instructed to use that as your guide?

   7          A.    No.

   8          Q.    Whose idea was it to go off of that?

   9          A.    It was just a given since he is the expert on

  10    ILP or was at that time.

  11          Q.    Okay.    So was part of the instruction that was

  12    given to you early on that the department is going to

  13    apply an intelligence-led policing philosophy and that

  14    you would be asked to come up with a scoring system for

  15    prolific offenders?

  16          A.    Yes.

  17          Q.    And so you just knew to look to Ratcliffe's

  18    work on the topic?

  19          A.    Yes.    Also, he came and visited.

  20          Q.    So looking at the exhibit that I put in front

  21    of you a few minutes ago, I think I already asked you

  22    this, but just to be clear, do you recognize this

  23    document?

  24          A.    Yes.

  25          Q.    And what is it?
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                                                                             19


   1        A.     Oh, it's the intelligence-led policing manual.

   2        Q.     Okay.   And focusing on the page that I directed

   3    your attention to before, can I ask you some questions

   4    about the mechanics of the program?

   5        A.     Yes.

   6        Q.     If you look down toward the bottom where it

   7    says intelligence-led policing division, if you look at

   8    the final sentence of the first paragraph there, can you

   9    read that, please?

  10        A.     Oh, looks like the -- the final paragraph?

  11        Q.     The final sentence of the first paragraph

  12    under --

  13        A.     Okay.   The intelligence-led policing division

  14    consists of 29 members, including a director, manager,

  15    four detectives, and 23 analysts in varying levels and

  16    roles.

  17        Q.     Okay.   Is that still accurate?

  18        A.     I believe there are a few more.      I'm positive.

  19        Q.     A few more what?

  20        A.     Analysts.

  21        Q.     Okay.   Have the numbers -- the other numbers

  22    stayed basically the same?

  23        A.     Yes.

  24        Q.     Okay.   Where do you fall within this hierarchy?

  25        A.     One of the analysts.
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                                                                             20


   1        Q.    Are you a senior analyst?

   2        A.    Yes.

   3        Q.    Are there any analysts above you?

   4        A.    No.

   5        Q.    Okay.   Dave Santos, what is his title?

   6        A.    Manager.

   7        Q.    Manager of ILP?

   8        A.    Yes.

   9        Q.    Okay.   And what is Larry Kraus's title?

  10        A.    Inspector.

  11        Q.    Is he the inspector of ILP?

  12        A.    I think so.

  13        Q.    If you look at the next paragraph, will you

  14    read that first sentence, please?

  15        A.    Two strategic analysts (a mid-level strategic

  16    analyst and a senior strategic analyst) develop products

  17    that offer insight and understanding to help inform

  18    big-picture decisions pertaining to policy formation,

  19    planning, resource allocation, manpower deployment, and

  20    the agency's overall crime fighting efforts.

  21        Q.    Okay.   I think I know the answer to this, but

  22    just so we're clear, when it references the two

  23    strategic analysts, you are one of those two; is that

  24    right?

  25        A.    Yes.
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                                                                             21


   1        Q.    And you are the senior strategic analyst; is

   2    that right?

   3        A.    Yes.

   4        Q.    Who is the mid-level strategic analyst?

   5        A.    It is Michelle Kacprzak, K-A-C-P-R-Z-A-K.

   6        Q.    If you read the sentence that -- will you go

   7    ahead and read the sentence that follows?

   8        A.    Let's see.    The strategic analysts define and

   9    identify prolific offenders and assist in forming the

  10    district STAR boxes.

  11        Q.    Okay.   When it talks about strategic analysts

  12    define and identify prolific offenders, is that

  13    responsibility under the umbrella of your job duties?

  14        A.    Yes, partially.

  15        Q.    Who else shares that responsibility?

  16        A.    The part that I do is to write the program and

  17    apply the scoring, and the other analysts provide a

  18    manual overview because programs can get things wrong

  19    and data are sometimes wrong.

  20        Q.    Let's maybe talk about that.       Maybe not yet

  21    though.   Are you familiar with the term STAR team?

  22        A.    Yes.

  23        Q.    What is a STAR team?

  24        A.    Strategic targeted area response team.

  25        Q.    Do you have any interaction with STAR teams?
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                                                                             22


   1        A.    No.

   2        Q.    Did you used to?

   3        A.    No.

   4        Q.    Do the STAR teams use the information supplied

   5    by you and your fellow analysts?

   6        A.    Yes.

   7        Q.    How do they use that information?

   8        A.    One of the ways is we define areas the STAR

   9    boxes where there is a lot of suppressible crime that

  10    occurs, for instance, violence and burglary.         Some of

  11    the other types of crimes we can't suppress very well.

  12    So we're looking to find types of crimes that deputies

  13    might be able to suppress rather than having to make

  14    arrests after the fact.

  15        Q.    So you mentioned suppression.       Can you explain

  16    a little bit about the theory of suppressing crime?

  17        A.    Sometimes people commit crime for -- to get

  18    money to feed a habit or because they're involved with

  19    other people that encourage them to, and with a little

  20    bit of county services, they may be able to avoid that.

  21    If they have a little bit of attention, they may not

  22    want to do crime.     They may age out.     There are a lot of

  23    reasons why people stop doing crime.

  24        Q.    So is the idea to focus on those people

  25    preventatively?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 23 of 119 PageID 2879
                                                                             23


   1        A.    Yes.

   2        Q.    And your job is identifying who those people

   3    you just described are?

   4        A.    Right.     And then in the STAR boxes the areas

   5    that are more problem areas.

   6        Q.    Okay.     I'm curious about how the STAR boxes

   7    interact with the problem people.       Under ILP are

   8    deputies asked to target people who -- to target people

   9    who are within those STAR boxes?

  10        A.    The STAR teams --

  11              MR. POULTON:     Object to the form.     Object to

  12        the form.      Go ahead.   You can go ahead and answer.

  13        A.    Okay.     The STAR teams concentrate on the

  14    suppressible type of crime within the STAR boxes, and

  15    the deputies, as part of their normal duties, are asked

  16    to check on the prolific offenders.

  17    BY MR. BARGIL:

  18        Q.    Are they asked to check on anybody else?

  19        A.    Yes.     There are a few other definitions that

  20    I'm not involved with.

  21        Q.    Is the only classification that you're involved

  22    with prolific offender?

  23        A.    Yes.

  24        Q.    Do you have anything to do with the Top 5

  25    classification?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 24 of 119 PageID 2880
                                                                             24


   1        A.      I do not.

   2        Q.      Did you have anything to do with I think

   3    at-risk youth classification?

   4        A.      No.

   5        Q.      Do you have anything to do with I think abusive

   6    offender classification?

   7        A.      Yes, I run a program for that.

   8        Q.      Okay.   When you say you run a program for

   9    that --

  10        A.      I -- it's a similar algorithm to the prolific

  11    offender program and -- but it's not used by the

  12    deputies.     It's used by the major crimes unit.

  13        Q.      Okay.   And the purpose of this algorithms as

  14    it's name would indicate is to focus on, quote, unquote,

  15    abusive offenders?

  16        A.      Correct.

  17        Q.      And how would you, in layman's term, describe

  18    what an abusive offender is?

  19        A.      The definition -- I looked at that recently --

  20    was if they've had two abuse-related arrests within the

  21    past six months, and then a scoring system based on what

  22    they've done in the past three years.

  23        Q.      Okay.   Is it fair to say that the abusive

  24    offender classification is focused more on, quote,

  25    unquote, violent offenses?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 25 of 119 PageID 2881
                                                                             25


   1        A.    It's mostly domestic.

   2        Q.    Okay.   What would you say the prolific offender

   3    classification is focused on preventing?

   4        A.    The focus crimes for prolific offender are

   5    burglaries and violence.

   6        Q.    Okay.   Are there any others?

   7        A.    There is --    drug offenses are added in at a

   8    smaller calculation.

   9        Q.    Okay.   Is it focused on what the district

  10    refers to as the Big 4?

  11        A.    Yes.

  12        Q.    Or the agency?     I should correct myself.      On

  13    what the agency refers to as the Big 4?

  14        A.    Yes.

  15        Q.    Okay.   Do you know what deputies are asked to

  16    do when they make prolific offender checks?

  17        A.    No.

  18              MR. POULTON:     Object to the form.

  19    BY MR. BARGIL:

  20        Q.    You mentioned that those are folks who you

  21    believe -- when I say folks, you mentioned that prolific

  22    offenders are folks who in your belief would not be

  23    committing crimes if certain civil services were

  24    afforded to them.     Is that a fair --

  25        A.    Not necessarily.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 26 of 119 PageID 2882
                                                                             26


   1        Q.     Okay.

   2        A.     Some of them.

   3        Q.     Okay.     Do you know what civil services are

   4    offered?

   5        A.     I don't.

   6        Q.     Okay.     Take a look at page 75 of the document

   7    that's in front of you.       Are you familiar with this

   8    specific section?

   9        A.     Yes.

  10        Q.     And is this the appendix that provides the

  11    prolific offender calculation?

  12        A.     Yes.

  13        Q.     Okay.     I'd like, if we could, to go through the

  14    process, and it might be mechanical, of how raw data

  15    comes to be a list of prolific offenders.         I think I

  16    have an idea, but why don't you go ahead and tell me,

  17    and then when you're done I'll ask you some questions.

  18        A.     Okay.     The first part of the process is not

  19    shown here.       It's in our database.    Occasionally

  20    offenders get more than one unique name ID because the

  21    deputy's in a hurry or doesn't -- the name is

  22    sufficiently different from what's already in the system

  23    that they add them a second time.         So I put together as

  24    much as I can those name IDs, because if two offenses

  25    had fallen under one name ID and three under the other
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 27 of 119 PageID 2883
                                                                             27


   1    and they weren't put together, then we wouldn't have as

   2    good of a calculation.

   3              Then we look for people who have been arrested

   4    for two of our focus offenses, which you already

   5    covered, within the past three years.        And then once we

   6    get that pool of people, then we run through all of the

   7    things that they are noted for in the records management

   8    system and assign point values to those items.

   9              Then we rank the group, and the top are given

  10    to the district analysts to vet whether or not they

  11    actually should be a prolific offender.

  12        Q.    Okay.    Going back to the beginning -- I thank

  13    you for that explanation.      So the first thing you do is

  14    you focus on establishing like a sound data set?

  15        A.    Correct.

  16        Q.    And then you apply your point system to those

  17    individuals; is that right?

  18        A.    Yes.    Although the criteria is first to get the

  19    pool of those with two offenses --

  20        Q.    Oh, that's right.

  21        A.    -- or two arrests.

  22        Q.    Two arrests within the last three years for

  23    that specific set of offenses?

  24        A.    Correct.

  25        Q.    Or is it two arrests period?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 28 of 119 PageID 2884
                                                                             28


   1        A.      No, two of those specific offenses.

   2        Q.      And is this in Pasco County only or anywhere?

   3        A.      Only -- all of this data comes from the Pasco

   4    records management system, which now includes

   5    Zephyrhills and I believe New Port Richey, but I'm not

   6    positive.     So we could include those.

   7        Q.      Well, New Port Richey -- is New Port Richey in

   8    Pasco County?

   9        A.      Yes.

  10        Q.      And so is Zephyrhills too?

  11        A.      But they maintain their own databases.

  12        Q.      I see.     So they were previously not included in

  13    this calculating?

  14        A.      Correct.

  15        Q.      So in the past it would have been isolated to

  16    individuals with two arrests in the last three years in

  17    Pasco County excluding New Port Richey and Zephyrhills?

  18        A.      Correct.

  19        Q.      Okay.    Do you know when that changed?

  20        A.      I don't remember.

  21        Q.      Okay.    Do you know why they weren't sharing

  22    their records with the County?

  23        A.      Change is difficult.

  24        Q.      Fair enough.

  25                So we were talking about the inclusion or the
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 29 of 119 PageID 2885
                                                                             29


   1    creation of the pool, which seems to be what it's

   2    described as, and so it's two arrests -- I think I asked

   3    you this, but I'm not sure what you -- I forget what you

   4    said.    Is it two arrests of any kind or two arrests

   5    within the Big 4?

   6        A.     Two arrested of the focus crimes.

   7        Q.     Okay.    Are there people who might have two

   8    arrests of the focus crimes within the last three years

   9    who don't end up making it into the pool?

  10        A.     Yes.

  11        Q.     Why?

  12        A.     Because they've done very little where we try

  13    -- with the ranking that we do later, we rank them

  14    according to how many points they get.        If all they've

  15    done is those two offenses, it's very unlikely that they

  16    would be a prolific offender.

  17        Q.     I see.    I want to be clear though.     I'm talking

  18    only about the pool -- the creation of the pool before

  19    the application of the formula, so --

  20        A.     Oh, I consider a prolific offender one that has

  21    been both put into the pool and then vetted by the

  22    district analyst and chosen as a prolific offender.

  23        Q.     Okay.    I didn't mean to -- if I used the term

  24    prolific offender, pardon me.       I didn't mean to.    At

  25    this point I'm just talking about an individual who
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 30 of 119 PageID 2886
                                                                             30


   1    might have had two arrests within the Big 4 in the last

   2    three years.      That person will automatically be fed into

   3    the pool for application of the algorithm?

   4        A.    Correct.

   5        Q.    You don't do any culling of the herd at that

   6    point?

   7        A.    No, no.

   8        Q.    Okay.     So then you apply your point system to

   9    all of those people?

  10        A.    Yes.

  11        Q.    Do you have any idea how many people the pool

  12    -- I'm calling it the pool.      Is that the appropriate

  13    term?

  14        A.    I prefer that term.

  15        Q.    Okay.     Do you have any idea how many people are

  16    typically in the pool when you do this?

  17        A.    Usually between 18 hundred and 2000.

  18        Q.    Okay.     And then you apply the scoring system;

  19    is that right?

  20        A.    Yes.

  21        Q.    And that will rank all of the people in the

  22    pool?

  23        A.    Correct.

  24        Q.    And then -- and then what happens?        I know you

  25    testified it to this earlier, but then what happens?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 31 of 119 PageID 2887
                                                                             31


   1        A.    Then I take the rank list, take about the top

   2    250 because within that 250 the district analysts should

   3    be able to find 100 or so of the top that they think

   4    should be prolific offenders.

   5        Q.    Okay.   You don't just lop off everyone after

   6    number 100?

   7        A.    No.

   8        Q.    Okay.   So what do district analysts take into

   9    account when they're trying to go from that roughly 250

  10    number down to about 100?

  11        A.    I'm not certain of all the things, but one of

  12    them would be if the person is already in jail and will

  13    be for the next three months, then it would not be

  14    necessary for the deputies to check on them.

  15        Q.    Okay.

  16        A.    Another one is if they've moved out of county

  17    and probably won't be a problem for us, if they're

  18    deceased, and I'm not sure what other criteria they use.

  19        Q.    Would they weight, you know, that person's past

  20    behavior over the last two or three years since they

  21    made their way into the pool?

  22        A.    Oh, I'm confused.     The pool is created about

  23    quarterly.

  24        Q.    I apologize.    So just to be specific or more

  25    clear, I'm asking whether they would take into
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 32 of 119 PageID 2888
                                                                             32


   1    consideration maybe things that happened in that

   2    three-year history since they became eligible for

   3    inclusion in the pool?

   4        A.      Oh, yes.

   5        Q.      Does that make sense?

   6        A.      Right.

   7        Q.      So if somebody maybe hasn't done anything for

   8    three years, they still might -- or, you know, two and

   9    three-quarters years, they still might end up in the

  10    pool?

  11        A.      Oh, they would still be in the pool.

  12        Q.      And they might still --

  13        A.      And the district analyst may decide not to

  14    include them for that reason.

  15        Q.      So they do consider -- do they consider things

  16    beyond whether that person is sort of -- let me

  17    rephrase.     Do they consider things beyond just whether

  18    an individual is logistically incapable of committing

  19    crime because they're out of the state or in jail?

  20        A.      I'm not sure what other criteria they use.       I

  21    know that those are in use.

  22        Q.      Okay.    Could there be others?

  23        A.      The out of state, the in jail.

  24        Q.      Could there be others?

  25        A.      Possibly.    I don't know.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 33 of 119 PageID 2889
                                                                             33


   1        Q.      I'm gathering that you don't participate in

   2    this process?

   3        A.      No.     Once I finished with the list, I send it

   4    to the district analysts and they deal with it.

   5        Q.      Do you ever receive feedback from the district

   6    analysts about the accuracy --

   7        A.      Yes.

   8        Q.      -- of your system?

   9        A.      We've gone through several iterations of this,

  10    but the name matching part that I told you about

  11    earlier, part of that I do automatically, and part of it

  12    that isn't quite as certain then I have to do it

  13    manually.     In the automatic part, it joined two twins.

  14    They have very similar first name, middle name, and of

  15    course same last name and birth date.        So when I ran the

  16    calculation, it put together all of their offenses.          So

  17    we had one person who was really high on the list, and

  18    one of the district analysts said something is wrong

  19    here, so I went back and corrected that.

  20        Q.      Okay.     Do you ever get a district analyst who

  21    might say something like I can't believe that so and so

  22    is not on this list?

  23        A.      No.     I give them the detail of the offenses

  24    that the people have done, and if they find someone that

  25    should be on the list, it would be in the records
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 34 of 119 PageID 2890
                                                                             34


   1    management system.      So that would probably be a

   2    name-matching problem as well.

   3        Q.    You mentioned that the district analysts are

   4    the ones who I think you used the term vet the list; is

   5    that a fair description?

   6        A.    Yes.

   7        Q.    Does anybody else participate in the vetting?

   8        A.    Not that I'm aware of.

   9        Q.    Do you know whether deputies or patrol --

  10        A.    No.

  11        Q.    Is it all civilians who do the vetting?

  12        A.    Yes.

  13        Q.    I'd like to direct your attention to page 75 of

  14    the manual.      I think you're turned to it already.      Can

  15    you look at the -- do you see where it says Scoring a

  16    few lines down?

  17        A.    Yes.

  18        Q.    Can you read that sentence and the two bullet

  19    points?

  20        A.    After being qualified to the pool of offenders,

  21    each individual is scored on three criteria:         Criminal

  22    history, enhancements.

  23        Q.    Okay.     I was wondering if you could clarify

  24    something that's been confusing me.       It says scored on

  25    three criteria, and then it list two items.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 35 of 119 PageID 2891
                                                                             35


   1        A.    Yes, I just noticed that too.

   2        Q.    Is it two criteria and those are the two, or is

   3    it three and we're missing one?

   4        A.    Two.

   5        Q.    Okay.    And those two would be criminal history

   6    and enhancements?

   7        A.    Yes.

   8        Q.    I won't belabor it, but do you remember -- do

   9    you see the point value assignment system that's

  10    bulleted out there at the bottom?

  11        A.    Yes.

  12        Q.    I'll give you a moment to look that over.

  13              Are those point values still accurate?

  14        A.    Yes.

  15        Q.    Going back to eligibility within the pool --

  16    actually, if you take a look at the second line -- sorry

  17    we're switching gears backward a little bit -- the

  18    second line at the top of the page, I know you testified

  19    that you confined yourself in the pool if you've had two

  20    arrests within the last three years in Pasco County; is

  21    that right?

  22        A.    Yes.    ILP focus crimes.

  23        Q.    Can you also find yourself in the pool if

  24    you've had only suspicions?

  25        A.    No.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 36 of 119 PageID 2892
                                                                             36


   1        Q.    Okay.     So you're looking only at arrests?

   2        A.    Correct.

   3        Q.    Now going down to the point value system, do

   4    you recall how these have changed over time?

   5        A.    No.     We've made minor modifications several

   6    times.

   7        Q.    Has it been generally consistent since its

   8    inception?

   9        A.    Yes.

  10              MR. POULTON:     Object to the form.     Go ahead.

  11    BY MR. BARGIL:

  12        Q.    If you look at the last two a bullet points on

  13    that list, do you see where it says Moderated

  14    enhancement for each FTA and/or VOP?

  15        A.    Yes.

  16        Q.    And the next line starts with Moderated

  17    enhancement as well; is that right?

  18        A.    Correct.

  19        Q.    Can you explain to me what a moderated

  20    enhancement is?

  21        A.    Purpose first.     People -- sometimes when

  22    deputies arrest a person, they don't take them to jail.

  23    They assign a court date.      If the person fails to

  24    appear, then they get a failure to appear, FTA, or if

  25    they have a VOP, violation of parole, that means they've
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 37 of 119 PageID 2893
                                                                             37


   1    not been doing what the Court told them to.         So we want

   2    to count that into the prolific offender, but we don't

   3    want to count it real heavily.       So when we did our

   4    initial test on that, we came up with panhandlers being

   5    our most prolific offenders.      This was not on a real

   6    prolific offender list but on a test to see if that

   7    would work, and because some of the panhandlers had 40

   8    or 50 FTAs --

   9        Q.    Sure.

  10        A.    -- and we didn't want them to be the top

  11    prolific offenders, but we still wanted to include it.

  12    So if you take the point value and take the square root

  13    of it, it's a calculation based on that.        So if they

  14    have four FTAs and VOPs versus 16, the 16 is double the

  15    points rather than four times the points.

  16        Q.    So by moderated enhancement, you're just

  17    calculating the number of failures to appear and

  18    violations of probation or parole and taking the square

  19    root of that number --

  20        A.    Basically.

  21        Q.    -- and adding that to the score?

  22        A.    Yes.

  23        Q.    Does that apply as well for the following

  24    bullet point for other involvement?

  25        A.    For the numbers over five other appearances.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 38 of 119 PageID 2894
                                                                             38


   1    So if someone had four business burglaries and another

   2    person had four business burglaries but they had also

   3    been on the scene for 20 different crimes, we wanted to

   4    give the person who's everywhere bad a little bit more

   5    of a score.

   6        Q.    Okay.

   7        A.    And so of the other involvements above five

   8    that were not arrests or suspicions, then we start

   9    counting from there.

  10        Q.    Okay.   In your estimation, when this algorithm

  11    is functioning at its best, what are the types or who

  12    are the types of people that tend to find their way to

  13    the top of the list?

  14        A.    I don't -- I don't know how to answer that.

  15        Q.    Well, I assume part of the answer is not

  16    panhandlers.

  17        A.    Correct.    Right.

  18        Q.    So at the other end of the spectrum what -- the

  19    goal is to identify who?

  20        A.    We get a mix of people with burglaries and some

  21    that are violent, some that have done drug sales but

  22    have also done the focus crimes, at least two of them.

  23    So I think they find their nitch, and there's no real

  24    common commonality between the people in the group other

  25    than they've done a lot of it.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 39 of 119 PageID 2895
                                                                             39


   1                (Short break.)

   2    BY MR. BARGIL:

   3        Q.      I know you said you weren't involved in the

   4    vetting process, but for purposes of testing your

   5    algorithm's accuracy for lack of a better word, do you

   6    look to see after the fact how many of your top 100

   7    remain in the top 100 after the vetting process?

   8        A.      I did a report a few years ago to find out how

   9    effective it was, and it was difficult to know because

  10    some of the people had moved in and out of the Top 5 and

  11    the district target classifications as well, and so it's

  12    -- basically, I was only able to focus on those people

  13    during one quarter that had not previously been assigned

  14    to any of those other classifications to see how they

  15    were going forward and it did reduce their crime.

  16        Q.      I think you might have misunderstood my

  17    question.     So I guess what I'm getting at is you develop

  18    your -- you identify your pool, you apply your

  19    algorithm, you end up with your top 250 who then get

  20    vetted; is that right?

  21        A.      Yes.

  22        Q.      And the goal is to bring that number down to

  23    about 100; is that right?

  24        A.      Right.

  25        Q.      Have you ever reconciled the top 100 as
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 40 of 119 PageID 2896
                                                                             40


   1    identified post vetting with what would have been your

   2    top 100 prevetting?

   3        A.    No.

   4        Q.    Fair to say that there's some discrepancy

   5    between those two things?

   6        A.    Yeah.    Probably the sociology is not a good

   7    predictor of human behavior.

   8        Q.    What do you mean by that?

   9        A.    If someone has done three business burglaries

  10    on consecutive Thursday nights, are they going to do one

  11    on the fourth?     There are many different reasons why

  12    they would not, like the wife wanted them to go to the

  13    pharmacy that evening, or I mean you can come up with

  14    all the reasons.     So predicting human behavior is not

  15    real effective.

  16        Q.    Okay.    If you look at the enhancements at the

  17    bottom of the page on page 75, it says a 10 percent

  18    enhancement is added to the final score for an active

  19    gang member; is that right?

  20        A.    Yes.

  21        Q.    Are there any other enhancements?

  22        A.    I would really have called the FTA, VOP and

  23    other involvement enhancements, but that's it.

  24        Q.    Is there anything that's not listed setting

  25    aside how it's classified?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 41 of 119 PageID 2897
                                                                             41


   1        A.      No.     At one point we considered putting in age

   2    because a lot of people age out of crime, but there are

   3    certain crimes that they don't, so we took that out.

   4        Q.      Okay.     How do you know whether someone is an

   5    active gang member?

   6        A.      I go by our gang analysts' determination, and

   7    they use the Florida Statute definition.

   8        Q.      What are -- well, strike that.

   9                How frequently do you modify your formula?

  10        A.      Probably once every two years minor

  11    modifications.

  12        Q.      Why every two years?

  13        A.      Oh, it's just because one of the analysts

  14    notices something and says could we do this differently.

  15        Q.      When was the last time you modified it?

  16        A.      About two years ago.

  17        Q.      Do you recall what prompted it in that

  18    instance?

  19        A.      Yes.     When someone does an auto burglary, it's

  20    usually not an isolated event for that evening.         They

  21    may do five or six of them in that same evening just

  22    going down the street, and so we only count one burglary

  23    auto per day arrest now.

  24        Q.      I see.     Is that what's described, if you look

  25    at step one criminal history?        No, that's not -- strike
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 42 of 119 PageID 2898
                                                                             42


   1    that.

   2           A.   Oh, that's slightly different.

   3           Q.   Yeah, yeah, I see that.

   4                What is the reasoning behind not counting five

   5    separate offenses as five separate offenses?

   6           A.   Many of the auto burglaries are minor in

   7    nature.     They lift the door handle, take a couple coins

   8    out of the glove box or something that is not a real big

   9    harm to society.       When they break the glass window, then

  10    that's big because that's expensive.        But in general the

  11    auto burglaries are considered less of a problem --

  12    well, they aren't as much harm to society as a business

  13    burglary or a residential burglary.

  14           Q.   I see.    So fair to say you tweaked the formula

  15    so as to not over emphasize certain crimes that you see

  16    as not being extraordinarily problematic?

  17           A.   They occur a lot, but the auto burglaries,

  18    burglaries who do a lot on a day often do a lot of days

  19    too.

  20           Q.   Okay.

  21           A.   So we count them.

  22           Q.   Okay.

  23           A.   We hope just not inordinately.

  24           Q.   I see.    Okay.

  25                Okay.    We'll get to the unvetted list a little
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 43 of 119 PageID 2899
                                                                             43


   1    bit later maybe, but just to circle back, you mentioned

   2    that you believe that I think Larry Kraus was the

   3    primary drafter of the ILP manual?

   4        A.    Captain Ross, I believe.

   5        Q.    Captain Ross.    I'm sorry.

   6              And did you at least contribute this section or

   7    is this somebody else taking what they know to be your

   8    work and putting it in here?

   9        A.    I put together one of these documents.        I think

  10    it's been modified a few times by other people, and then

  11    of course I would either modify it myself according to

  12    the changes that the director had put together or --

  13    well, yeah, I would -- I would modify it according to

  14    what the new decisions were.

  15        Q.    Okay.   Coming back to something else that I

  16    mentioned earlier, we talked about prolific offender,

  17    prolific offender classifications, and I think your

  18    testimony was that you didn't have any hand in any of

  19    the other classifications applied by the agency; is that

  20    right?

  21        A.    Other than the abusive offenders.

  22        Q.    Other than -- so that was my next question.         So

  23    your testimony was at first was that you didn't have any

  24    involvement but abusive offenders you do.        Are there any

  25    others that you might be forgetting?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 44 of 119 PageID 2900
                                                                             44


   1        A.    We have a revictimization report.

   2        Q.    And you --

   3        A.    So people who have been victimized multiple

   4    times, our victim advocates go try to counsel them how

   5    not to be victimized more.

   6        Q.    And am I correct in assuming that you help

   7    identify who those repeat victims are?

   8        A.    Yes.

   9        Q.    Okay.   Based on your review of the data?

  10        A.    Correct.

  11        Q.    Okay.   And again, you don't have anything to do

  12    with the identification system for Top 5 offenders; is

  13    that right?

  14        A.    Correct.

  15        Q.    Do you know who identifies Top 5 offenders?

  16        A.    The district analysts as far as I know.

  17        Q.    Do they do that with any direction from you?

  18        A.    No.

  19        Q.    Do you know what they take into account?

  20        A.    No.

  21        Q.    But you are their supervisor; is that right?

  22        A.    No.

  23        Q.    No?

  24        A.    I don't supervise anyone.

  25        Q.    Do you work pretty much -- I mean, you report
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 45 of 119 PageID 2901
                                                                             45


   1    to somebody, but you work independently?

   2        A.      Correct.

   3        Q.      Okay.   Are you familiar with the term Top 5

   4    offender?

   5        A.      Yes.

   6        Q.      What does it mean as far as you understand it?

   7        A.      District analysts using whatever criteria they

   8    use to select five people per district to be looked at.

   9                (Cell phone interruption.)

  10        A.      Sorry about that.

  11    BY MR. BARGIL:

  12        Q.      That's okay.

  13                So is it your understanding that there is a

  14    criteria?

  15        A.      I think there is.   I don't -- I mean, I know

  16    they talk about it amongst themselves, but I don't -- I

  17    don't know what it is.

  18        Q.      You know they talk about the criteria or you

  19    know they talk about Top 5 offenders?

  20        A.      About the Top 5 offenders.

  21        Q.      So there may or may not be a criteria as far as

  22    you know?

  23        A.      I don't know.

  24        Q.      Okay.   You hope there would be one; right?

  25    Right?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 46 of 119 PageID 2902
                                                                             46


   1           A.   Yes.

   2                (Exhibit B was marked for identification.)

   3                MR. BARGIL::     Tom this will be Exhibit B.    I've

   4           just handed the witness Pasco County Sheriff's

   5           Office member performance report for one Stephen

   6           Hiebert spelled with a P-H and an I-E.

   7    BY MR. BARGIL:

   8           Q.   Sir, do you recognize what I've put in front of

   9    you?

  10           A.   Yes.

  11           Q.   Okay.    And what is it?

  12           A.   Occasionally I get a performance report on how

  13    I've been working in the recent past.

  14           Q.   Okay.    Let me take a look at -- I'm going to go

  15    by the Bates number that's the long number on the bottom

  16    right corner.       Okay.   Can you take a look at page 18995?

  17    And is this the member performance report for 2019?

  18           A.   Yes.

  19           Q.   Okay.    I will you direct attention to part E at

  20    the top.

  21           A.   Okay.

  22           Q.   Would you read goal number one for me?

  23           A.   Complete the data guide.

  24           Q.   Okay.    And am I correct that this is a

  25    recommended goal for you for the next evaluation period?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 47 of 119 PageID 2903
                                                                             47


   1           A.   Yes.

   2           Q.   Who recommended this goal for you?

   3           A.   I don't recall if it was either me or my

   4    supervisor or Director Kraus.

   5           Q.   Okay.    You can cheat by looking at the bottom.

   6    I think there's some --

   7           A.   Okay.

   8           Q.   It's not ultimately relevant if you still don't

   9    know the answer.

  10           A.   I made suggestions as far as my goals.      So I

  11    don't know which ones were my idea and which ones were

  12    his.

  13           Q.   I see.    I think your ideas are in a separate

  14    section, but maybe they overlap.       In any case, are you

  15    familiar with this suggestion?

  16           A.   Yes.

  17           Q.   What is the air quote data guide?

  18           A.   I believe that is a guide to our records

  19    management system so the other analysts would be able to

  20    navigate through the databases.

  21           Q.   Why was that necessary?

  22           A.   It's complicated.    There are probably forty or

  23    fifty tables that that I normally use, and some of the

  24    other analysts may use ten or twelve of them.

  25           Q.   Okay.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 48 of 119 PageID 2904
                                                                             48


   1        A.    So knowing which ones realistically can be

   2    joined with others and how and why is important.

   3        Q.    Okay.   So when you say it's complicated, you

   4    mean that the records management system is complicated?

   5        A.    Yes.

   6        Q.    I agree.     So did you complete that task?

   7        A.    Partially.     I gave a training to the other

   8    analysts with some documentation about how they could

   9    join tables.

  10        Q.    Okay.   Read goal number two.

  11        A.    Research and assist in the development of an

  12    automated process for social network analysis.

  13        Q.    Okay.   What is social network analysis?

  14        A.    It's a way of joining people via relationships

  15    they have.

  16        Q.    Okay.   What are some of the data that you take

  17    into account when mapping that?

  18        A.    If two people have been involved in the same

  19    crime, then either as co-offenders or offender victim,

  20    then -- well, if they're co-offenders, then they very

  21    likely know each other.      And if they're offender victim

  22    in a domestic, they very likely know each other.

  23        Q.    Any other things you take into consideration?

  24        A.    Let's see.     A lot.   If they -- if there's a

  25    missing person report, quite often there's one parent to
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 49 of 119 PageID 2905
                                                                             49


   1    juvenile last known to be with, et cetera.         So those

   2    people all know each other.

   3        Q.    Do you consider familial relationships?

   4        A.    We don't really have an accurate way of

   5    determining that.

   6        Q.    If someone's a juvenile, do you know who their

   7    parents are?

   8        A.    No, not unless if it's been entered by a deputy

   9    in some note section.

  10        Q.    If someone is married, do you know who their

  11    spouse is?

  12        A.    No, unless if they've been in a domestic or if

  13    they're in one parent to and missing child.

  14        Q.    Well, I ask because I think some of those

  15    things would be public record.       So do you ever search

  16    outside of the records management system to develop the

  17    social network?

  18        A.    No.

  19        Q.    Did you look at social media?

  20        A.    I don't.

  21        Q.    Does anyone else?

  22        A.    Some of the district analysts do when they're

  23    looking at a case and a specific case, but I don't look

  24    at specific cases.

  25        Q.    Do you know what kind of social media they look
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 50 of 119 PageID 2906
                                                                             50


   1    at?

   2          A.   No.     Yeah, social network analysis is

   3    completely different than social media.

   4          Q.   I understand.

   5          A.   Okay.

   6          Q.   But as part of social network analysis is

   7    social media ever consulted?

   8          A.   I've never used it.

   9          Q.   You've never used it?     Do you know if others

  10    use it as part of social network analysis?

  11          A.   I really doubt it.

  12          Q.   Do you think it would be helpful?

  13          A.   No.

  14          Q.   So if someone's Facebook profile says that

  15    they're in a relationship with, you know, John --

  16          A.   Oh, I'm talking about an automated software

  17    product where you could put this data into a network,

  18    and so the amount of research and typing would be

  19    enormous for something like that.

  20          Q.   I see.     I don't want to belabor it, but maybe I

  21    guess my question is so I understand that your task was

  22    to develop an automated process.

  23          A.   Yes.

  24          Q.   Without -- I understand why given your answer

  25    that automated process would be necessary.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 51 of 119 PageID 2907
                                                                             51


   1        A.    Right.

   2        Q.    But as far as the way social network analysis

   3    is done now or at least at the time of this writing

   4    prior to the existence of an automated process, do you

   5    know whether social network analysis involved review of

   6    social media?

   7        A.    Oh, no.    We started with social network

   8    analysis during a project with naval post graduate

   9    school, and that was -- they taught us methods.

  10        Q.    And those methods did not include --

  11        A.    And so the -- right.      They suggested --

  12        Q.    I guess the question is and those methods did

  13    not include consulting or reviewing social media?

  14        A.    They suggested doing a lot of hand typing, and

  15    I did not like that idea.      I wanted to pull it from the

  16    records management system because I could get a lot of

  17    data for a little effort.

  18        Q.    When you say they suggested a lot of hand

  19    typing, what does that mean?

  20        A.    That analysts read the narratives and associate

  21    people based on that, where I could do it automatically.

  22        Q.    I see.    So you wanted -- so is it the goal here

  23    to develop a system that would pull data in a way that

  24    could spit out a result about who's conducted to whom?

  25        A.    Yes.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 52 of 119 PageID 2908
                                                                             52


   1        Q.    Okay.    And thank you for accepting my very

   2    general description of what you were trying to do.          I'm

   3    sure it's more complicated than that.

   4              So I guess moving to goal number three, it says

   5    research and assist in the development of an automated

   6    process for prolific offenders; is that right?

   7        A.    Correct.

   8        Q.    Would you not describe your algorithm as an

   9    automated process for prolific offenders?

  10        A.    Yes.

  11        Q.    You would not describe it as that?

  12        A.    I would describe it as that, and like I said,

  13    there's occasional updates to the process.

  14        Q.    Okay.    So why would it -- why would you be

  15    given a goal to develop an automated process if that is

  16    what it is already?

  17        A.    I don't know.

  18        Q.    I guess going --

  19        A.    I think that referred just to the upgrades

  20    modifications.

  21        Q.    I see.     I see.   But in terms of like the

  22    vetting process, if we're going back, it is true that

  23    there is a human component to the prolific offender

  24    designation; is that right?

  25        A.    Yes.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 53 of 119 PageID 2909
                                                                             53


   1        Q.    Okay.

   2        A.    Oh, I think I recall about that.       I had

   3    initially a database with a whole bunch of queries that

   4    I had to run, and since then we got this mid-level

   5    strategic analyst that worked with me.        Then we wanted

   6    to put it into a more automated system where you take

   7    about five steps and it's done rather than doing fifty

   8    steps.

   9        Q.    Okay.   I have a couple questions about that.

  10    You said that you had to do a bunch of like independent

  11    queries that you had to run?

  12        A.    Yes.

  13        Q.    At what stage in the prolific offender

  14    designation process did you run those queries?

  15        A.    Oh, all of them.     The name matching, the pool

  16    selection and the scoring and sorting.

  17        Q.    What kind of queries would you run in this as

  18    you were scoring?

  19        A.    Oh, similar to the scoring system that we

  20    looked at in the ILP manual.

  21        Q.    You were doing that all --

  22        A.    A few queries at a time.

  23        Q.    When you say queries, what is a query?

  24        A.    There is Microsoft Access is what I normally

  25    use, and it has what they call a query.        It's basically
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 54 of 119 PageID 2910
                                                                             54


   1    a structured query language request for information from

   2    the database.      So one query will grab data from the

   3    cases and those involved, and the cases and those

   4    arrests.     So there's just probably forty or fifty

   5    different queries against one or more tables at a time

   6    that need to be done in order.

   7               It was a complicated process because you had to

   8    know which queries to run at what time.        So then per

   9    this goal, I put it together into a much more

  10    streamlined process where you have about five or ten

  11    steps that do this, do that.

  12        Q.     Forgive my ignorance, but is what you're

  13    describing essentially a process in which the computer

  14    is asking you to tell it what to consider in running the

  15    algorithm?

  16        A.     Oh, no.    The algorithm has -- to the best of my

  17    ability is a translation of that English document that

  18    we saw in the ILP manual for scoring and for pool

  19    selection.

  20        Q.     So is the queries that you're running -- are

  21    these much more like -- are these mechanistic within the

  22    software that you're running?

  23        A.     Yes.

  24        Q.     Yeah.

  25        A.     They're -- well, by its name, structured query
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 55 of 119 PageID 2911
                                                                             55


   1    language was developed by IBM, and it is very specific,

   2    almost like legalese, in what you want.        You want to

   3    select these data items from this table sorted in this

   4    order and connected via the name ID to find out what the

   5    birth date of that person was.

   6        Q.     Okay.   So you are -- fair to say that those

   7    queries are part of your, you know, offering commands to

   8    the system?

   9        A.     Yes.

  10        Q.     Okay.   I'll stop there on this line of

  11    questioning because, frankly, I don't know what I'm

  12    talking about, but --

  13        A.     I was a programmer for fifteen years, so --

  14        Q.     Yeah.   Well, now we're -- this is programming

  15    language; is that right?

  16        A.     Yes.

  17        Q.     Yeah.   So I profess that that is not my strong

  18    suit.

  19               Now, so the goal was to streamline that

  20    process?

  21        A.     Yes.

  22        Q.     And did you do that?

  23        A.     Yes.

  24        Q.     Did that do anything besides making the process

  25    of prolific offender designation easier on your end?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 56 of 119 PageID 2912
                                                                             56


   1        A.    It was just for me or my replacement or the

   2    mid-level strategic analyst, whoever else that needs to

   3    run it when it needs to be run.

   4        Q.    I see.     It wasn't changing outcomes?

   5        A.    No.

   6        Q.    Okay.     Gosh, I wish I would have just asked

   7    that from the beginning.

   8              So looking at -- if you turn a few more pages,

   9    I think this is also in the 2019 performance review.            If

  10    you look at page 18999, now am I correct if we look at

  11    part C that this is a continuation from a previous

  12    page's discussion?

  13        A.    Yes.

  14        Q.    Okay.     But focusing on what is in this section,

  15    will you read -- well, why don't you just go ahead and

  16    read that.      It's only two sentences.    Why don't you go

  17    ahead and read them both.

  18        A.    Part C?

  19        Q.    Yes.

  20        A.    In addition, it is imperative when working on

  21    joint projects each team member understands the

  22    methodology in which the data is collected and analyzed

  23    for final product review and dissemination.         Strategic

  24    Analyst Hiebert is encouraged to ensure any

  25    discrepancies in data are thoroughly discussed prior to
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 57 of 119 PageID 2913
                                                                             57


   1    finalizing or presenting a project or product.

   2        Q.    Okay.     If you look at the first sentence, it

   3    was suggested to you or said that it was imperative when

   4    working on joint projects that each team member

   5    understands the methodology in which the data is

   6    collected and analyzed.      Why is that something that was

   7    communicated to you?

   8        A.    I'm not sure, but I believe it was in probably

   9    several projects, but in the prolific offender list how

  10    exactly did I get there with that list in other

  11    projects, especially when working jointly, when I work

  12    with other people, everybody has to have the same

  13    definition of what the data mean.

  14        Q.    In terms of the methodology for prolific

  15    offenders, have you ever had disagreements with other

  16    folks in the department, whether they're analysts or

  17    supervisors or anyone in between, any conflicts about

  18    the methodology applied?

  19        A.    No.     Yeah, like I said, I don't make the

  20    definition.     I make suggestions and then implement what

  21    the decision is.

  22        Q.    Well, when you make those suggestions, are they

  23    generally accepted?

  24        A.    I don't know.     We had -- about two years ago

  25    when we were talking about the auto burglaries, we had a
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 58 of 119 PageID 2914
                                                                             58


   1    meeting of all of the district analysts and me, and I

   2    brought that up, and they agreed that that would be a

   3    good thing to do.     So then we gave it to Larry, and he

   4    approved it.

   5        Q.    Any other examples you can think of like that?

   6        A.    No.    It doesn't happen that often.

   7        Q.    Any instances you can think of where you

   8    suggested a change and it was rejected?

   9        A.    I suggested we look at having the age as a

  10    factor, but then after I did some tests on it, I decided

  11    not -- that that was not a good suggestion.

  12        Q.    In the second sentence it says, "Strategic

  13    Analyst Hiebert is encouraged to ensure any

  14    discrepancies in data are thoroughly discussed prior to

  15    finalizing or presenting a project or product."         Do you

  16    know why that was something that was specifically

  17    referenced by a supervisor?

  18        A.    I don't remember.

  19        Q.    Do you have -- do you ever find that there are

  20    discrepancies in data?

  21        A.    Yes.

  22        Q.    Can you give an example of what a discrepancy

  23    in data might be?

  24        A.    One of them that we use with the prolific

  25    offender definition is there's a type of call -- a type
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 59 of 119 PageID 2915
                                                                             59


   1    of case that is called throw/shoot deadly missile, and

   2    it's throw/shoot deadly missile into home, into vehicle,

   3    et cetera.      The point value is different if it's a brick

   4    or if it's a firearm.      The firearm gets lots of points

   5    and the brick not so many.      Yes, it's technically

   6    deadly, but if they threw it at the window and not the

   7    person, rather than firing a firearm into a house, that

   8    could be deadly.

   9        Q.    How is that a data discrepancy?

  10        A.    The deputies do not have a choice to say it's

  11    the big point one or it's the little point one, so we

  12    have to go through and manually vet them.

  13        Q.    I see.

  14        A.    That's where I get to read case narratives.

  15        Q.    I see.     Is that something that happens before

  16    you apply the algorithm or after?

  17        A.    It's in the middle.     So after the pool has been

  18    created, then all of those types of cases that the

  19    people in the pool have done, then I have to go and look

  20    at those cases.

  21        Q.    So you run the algorithm and assign point

  22    values for all of the people in the pool --

  23        A.    No.

  24        Q.    Let me finish my question.

  25        A.    Okay.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 60 of 119 PageID 2916
                                                                             60


   1        Q.    You run the algorithm for all the people who

   2    are in the pool, but then for those who are in the pool

   3    and have an offense like either of the ones you

   4    described, then you parse those out and figure out

   5    whether it's the high point value one or the low point

   6    value one?

   7        A.    Correct.

   8        Q.    And that way you make sure that their assigned

   9    point value is consistent with the formula?

  10        A.    Yes.

  11        Q.    Okay.    Are there any other offenses for which

  12    you do that?

  13        A.    Those are the -- that's the only manual one.

  14        Q.    Okay.    But it gets -- the problem is that it

  15    gets charged the same way --

  16        A.    Yes.

  17        Q.    -- by the officer?

  18        A.    The state statute is the same.

  19        Q.    I see.     It says here they want you to ensure

  20    that any discrepancies in data are thoroughly discussed

  21    prior to finalizing and presenting a project or product.

  22    Could that be in reference to something else?

  23        A.    Possibly.     Occasionally we've had problems

  24    pulling data from the records management system.         It

  25    gives us a partial list rather than the complete list.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 61 of 119 PageID 2917
                                                                             61


   1    I think that's more network-related though.

   2        Q.    Okay.

   3              (Short break.)

   4    BY MR. BARGIL:

   5        Q.    Okay.    We're back on the record.     Why don't you

   6    go ahead and correct whatever misstatement you made?

   7        A.    Page 19001 of the evaluation document, member

   8    performance, I'd forgotten about a couple lists that I

   9    made -- used to make.

  10        Q.    Ah.

  11        A.    Under A about the middle it says, Minor and

  12    Recurring Tasks.     Offender lists (Prolifics, Abusive,

  13    Violent, Narcotics and Under the Radar).        Well, I've

  14    never done under the radar.      I looked at it, but it

  15    didn't pan out, so I didn't do anything.        But violent

  16    and narcotics, I used to work with that, but we have a

  17    grant position that took that over about the time that

  18    this was written.

  19        Q.    Okay.

  20        A.    So I forgot about it.

  21        Q.    Well, thank you for correcting your answer.         I

  22    might have a quick followup.      I think this explains one

  23    of the questions I asked earlier.

  24              So is the violent offender classification a

  25    classification that is somewhat similar to the prolific
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 62 of 119 PageID 2918
                                                                             62


   1    offender classification but focuses rather on Big --

   2    than on Big 4 it focuses on violent offenses?

   3        A.    Yes.    That's a program that was grant funded

   4    and run with USF cooperation.

   5        Q.    Did you create a scoring system?

   6        A.    No, I didn't.    USF did.

   7        Q.    Okay.    Did USF play any role in the creation of

   8    the prolific offender scoring system?

   9        A.    No.

  10        Q.    There is a narcotics list?

  11        A.    I don't know if it's still -- it is still being

  12    created by the grant analyst, and it's given only to

  13    major crimes.

  14        Q.    Okay.    And is the purpose of that list to

  15    identify narcotic offenders?

  16        A.    Yes.    Same with the violent offenders.

  17        Q.    Okay.    And under the radar, what was that

  18    designed to go after?

  19        A.    I don't remember.     All I remember is that we

  20    thought maybe there were some people that were -- that

  21    should be on our radar that were being missed, and after

  22    looking at it, that did not appear to be case.

  23        Q.    Okay.    And if there are people that should be

  24    on your list -- well, does --

  25        A.    Or a list.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 63 of 119 PageID 2919
                                                                             63


   1        Q.    Is that concern partially addressed through the

   2    vetting process at least in terms of prolific offenders?

   3        A.    Oh, in the vetting, the district analysts do

   4    not add people to the prolific pool or to the prolific

   5    list.

   6        Q.    Do they only take them off?

   7        A.    Yes.    I think there is one caveat in the

   8    definition that if someone has moved in from another

   9    county that we're aware of and they did a whole lot of

  10    crime there, that the district analysts could petition

  11    Larry to have them instated as a prolific offender, but

  12    I don't think that's ever been done.

  13        Q.    Okay.    How would you know if it had been done?

  14        A.    Well, the district analysts communicate with

  15    analysts from neighboring jurisdictions, and so if

  16    someone just moved here from that other jurisdiction and

  17    I believe that they -- the other analysts sometimes

  18    communicate, oh, you might be seeing some of Joe here.

  19        Q.    Okay.    Would it be as simple as the district

  20    analyst sending an email to Larry Kraus saying I think

  21    this person should be included on the prolific offender

  22    list?

  23        A.    I think they would have to justify.

  24        Q.    I understand that.

  25        A.    Okay.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 64 of 119 PageID 2920
                                                                             64


   1        Q.    But they would, in the body of that email,

   2    justify it or provide criminal history?

   3        A.    Yes, they would have to list a certain number

   4    of offenses that would make them equivalent to the other

   5    prolific offenders that we have.

   6        Q.    Okay.    Is another way to get someone elevated

   7    for increased scrutiny to put them on the Top 5 list?

   8        A.    I don't know.

   9              MR. POULTON:     Object to the form.     You mean

  10        then or now?

  11              MR. BARGIL:     I don't know.    At the time that

  12        the Top 5 list existed.      His answer was I don't

  13        know, so --

  14              MR. POULTON:     Understood.    Thank you.

  15    BY MR. BARGIL:

  16        Q.    Give me just one second.

  17              In that hypothetical situation where a person

  18    moves in from out of county and a district analyst

  19    becomes aware that they've moved in, I just want to be

  20    certain, is there a formal process in place for how that

  21    person might find their way on Pasco County's prolific

  22    offender list?

  23        A.    It's listed in the definition document for the

  24    prolific offenders.      I think the bottom paragraph it

  25    just states that if the district analyst can petition to
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 65 of 119 PageID 2921
                                                                             65


   1    add another prolific offender, if there's sufficient

   2    justification from out of county or out of jurisdiction.

   3        Q.    And but that wouldn't go through you?

   4        A.    No.

   5        Q.    It would go directly to Kraus?

   6        A.    Right.    What happens -- what the process is,

   7    once it leaves me, it goes to the district analysts and

   8    then they update the records management system with

   9    their -- with the new prolific offenders.

  10        Q.    I see.    Okay.   Thank you for that.

  11              (Exhibit C was marked for identification.)

  12    BY MR. BARGIL:

  13        Q.    Do you recognize what I have presented you

  14    with?

  15        A.    It's vaguely familiar.

  16        Q.    Okay.    Does it appear to be a five-year review

  17    of the intelligence-led policing program?

  18        A.    Yes.

  19        Q.    Take a look at what is -- we're going to be

  20    looking at the Bates stamps -- basically page 2 of the

  21    document, but the Bates number is 17397.        This goes to

  22    some of the things that we discussed earlier, but if you

  23    look at the assessment highlights on the left-hand

  24    column, will you read the third bullet point, please?

  25        A.    Identified prolific offenders showed a 75
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 66 of 119 PageID 2922
                                                                             66


   1    percent reduction in arrest after being labeled

   2    prolific.

   3        Q.      Okay.     Have you done any studies to indicate or

   4    establish why there is a reduction in arrests after

   5    being labeled prolific?

   6        A.      No.     Why is a really tough question for an

   7    analyst to answer.

   8        Q.      Okay.     See at the bottom where it says

   9    Intelligence Analysis.        Can you read the second bullet

  10    point?

  11        A.      Prolific identification is successful.

  12        Q.      Okay.     But again, all that the data tells us is

  13    that there is a reduction in arrests after the prolific

  14    offender classification is applied to somebody; is that

  15    right?

  16        A.      Yes.

  17        Q.      And we don't know why that is; right?

  18        A.      No.     I don't know if this was done, but I would

  19    assume that they compared that 75 percent reduction in

  20    arrests to possibly a group in the pool that were not

  21    identified as prolific offenders.

  22        Q.      Okay.     But as you testified before, there are a

  23    lot of reasons why people stop committing crimes; right?

  24        A.      Yes.

  25        Q.      Is it possible that what this could tell us is
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 67 of 119 PageID 2923
                                                                             67


   1    that the algorithm didn't accurately identify the people

   2    who are most likely to commit future crimes?

   3              MR. POULTON:     Object to the form.

   4        A.    I would find it difficult to draw that

   5    conclusion that it was not effective.

   6    BY MR. BARGIL:

   7        Q.    It could be the case though; right?

   8        A.    There's a small chance, small probability.

   9        Q.    And they generally don't have any data to

  10    affirmatively establish otherwise; right?

  11        A.    Correct.

  12        Q.    Okay.     If you turn to page -- actually, I

  13    actually want to clarify something on page -- well, it's

  14    page 3 of the document.      I think the Bates number is

  15    kind of lost maybe on that page.

  16        A.    Uh-huh.

  17        Q.    There are some graphs.      You might not be able

  18    to answer this either because these are black and white

  19    copies, but if you look on the left side, can you tell

  20    us what we're looking at?

  21        A.    Year over year comparison of violent Big 4 and

  22    narcotics crimes.

  23        Q.    Are you able to tell maybe based on your

  24    experience or your super human eyesight what these

  25    graphs -- which is which in these bar graphs?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 68 of 119 PageID 2924
                                                                             68


   1        A.    In general, Microsoft Excel, which is used

   2    by -- that this chart is likely from, lists them in

   3    order.   So violent would likely be the largest of the

   4    bars for each -- or the columns for each of the years,

   5    and followed by Big 4, followed by narcotics.

   6        Q.    Okay.   And on the right-hand side, you have the

   7    five-year crime trend nationally for violent crimes; is

   8    that right?

   9        A.    Yes.

  10        Q.    Is it fair to say that the violent crime

  11    nationally beginning in 2016 begins to drop?

  12        A.    Yes.

  13        Q.    And is it also fair to say that at that same

  14    time in Pasco County there is an increase in violent

  15    crime?

  16        A.    Yes.

  17        Q.    Could we go to -- I'll use the page number on

  18    the document again.     Go to page 9.    What is this a

  19    depiction of?

  20        A.    Oh, Collier County was --

  21        Q.    Before we get into that -- sorry, I don't want

  22    to interrupt you, but what are we actually look at on

  23    this page?

  24        A.    Oh, we are looking at two different scoring

  25    methods for potential prolific offender models.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 69 of 119 PageID 2925
                                                                             69


   1        Q.    And who are the two side-by-side comparisons?

   2        A.    Collier County came to visit and look at our

   3    prolific offender model.      They proposed one of their

   4    own, and so I believe I put this -- this page together

   5    showing what the different features were.

   6        Q.    I see.     The reason for the comparison of

   7    Collier County then was just that they happened to visit

   8    and develop a system of their own?

   9        A.    Yes.     And then I did a study to determine if --

  10    how close theirs was to ours implementing their method

  11    to our method and to find out if the rankings of the

  12    people would be different.

  13        Q.    What was your conclusion?

  14        A.    They were very different.

  15        Q.    Different how?

  16        A.    Some people that we thought were big problems

  17    did not appear to be problems in the Collier method and

  18    vice versa.

  19        Q.    Which type of people did not appear to be

  20    problems if you used the Collier method?

  21        A.    Let's see.     They gave a really high weighting

  22    to forcible felonies, and they excluded a lot of the

  23    features that we had in our score.       Also --

  24        Q.    Like what?

  25        A.    Let's see.     They only counted arrests.     They
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 70 of 119 PageID 2926
                                                                             70


   1    did not include suspicions.      They did not distinguish

   2    between firearm -- a case with a firearm was either

   3    exhibited or used versus the other, and they -- I

   4    believe they omitted a lot of other things.         I don't

   5    know if they're shown here.      They had no -- let's see.

   6    It's been a while since I looked at this.        Sorry.

   7        Q.    Can I interrupt you really quickly?

   8        A.    Sure.

   9        Q.    The scoring system that's on the left-hand

  10    side, is that the Pasco scoring system?

  11        A.    Yes.

  12        Q.    Can I ask you about number 7 where it says

  13    there's a 15 percent enhancer for gang member

  14    affiliation, is that what it says?

  15        A.    Yes.

  16        Q.    Is that different from what's in the ILP

  17    manual?

  18        A.    No.     I believe that that's in the ILP manual

  19    under that single enhancement that we looked at.

  20        Q.    I thought it was 10 percent.

  21        A.    Hmm.     It could be that the manual was in error

  22    because as far as I know we've always used 15 percent

  23    when we use the gang enhancer.

  24        Q.    It's on page 75 of the manual, which I believe

  25    is Exhibit A?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 71 of 119 PageID 2927
                                                                             71


   1              MS. BROTHERS:     Yes.

   2    BY MR. BARGIL:

   3        Q.    Yeah.

   4        A.    You're right.     It does say 10 percent.     We've

   5    always used 15 percent --

   6        Q.    Okay.

   7        A.    -- whenever we used gang enhancer.

   8        Q.    Do you no longer use gang enhancer?

   9        A.    Yes, we do.

  10        Q.    Oh, okay.     And going back to that -- I should

  11    have asked this before and maybe I did -- when it comes

  12    to the enhancements, are those added by the analysts

  13    during the vetting process, or they're added by you?

  14        A.    It's in the calculation.

  15        Q.    Okay.

  16        A.    Or in the automated calculation.

  17        Q.    Okay.    Will you look at the following page.         It

  18    says Proposed Prolific Scoring Model; is that right?

  19        A.    Yes.

  20        Q.    Does this look familiar to you?

  21        A.    Yes.

  22        Q.    Okay.    Did you create this slide?

  23        A.    I did.

  24        Q.    Whose proposal is this?

  25        A.    I believe it was Larry.      I'm pretty sure it was
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 72 of 119 PageID 2928
                                                                             72


   1    Larry.   It was for me to look into various models that

   2    would incorporate what Collier was proposing.

   3        Q.    Okay.

   4        A.    And I ran 196 different models, and then we

   5    were most interested in two of them --

   6        Q.    Okay.

   7        A.    -- which I then compared with our method with

   8    what the lists were.      That has not been implemented.

   9        Q.    Do you know why it hasn't been implemented?

  10        A.    No.

  11              MR. BARGIL:     I'm sorry to have to do this.      Can

  12        we take a quick break?         I'm getting a phone call in

  13        a case for which something is due today, and I need

  14        to make sure everything is okay.

  15              MR. POULTON:     Sure.     No problem.

  16              MR. BARGIL:     We'll go off the record real

  17        quick.      I'll be right back.

  18              (Short break.)

  19    BY MR. BARGIL:

  20        Q.    I apologize for that interruption.

  21              So I suppose that the recommended prolific

  22    scoring model that was rejected was what is described

  23    here as scenario 9, variation 8?

  24        A.    Yes.     I think so.     I don't -- I don't have that

  25    page, do I?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 73 of 119 PageID 2929
                                                                             73


   1        Q.     Oh, you should.    I'm sorry.    It's in line 2

   2    under Prolific Scoring.

   3        A.     Oh, yes.

   4        Q.     What was the purpose or what was the -- what

   5    are the distinctions or what is the distinction between

   6    the proposed model and the one currently in use?

   7        A.     Let's see.   The scenarios were broken out by a

   8    really short time to qualify for the pool and along

   9    three -- you know, maybe one year to qualify for the

  10    pool rather three years, two years to qualify for the

  11    pool rather than three, and then three years, and then

  12    to gather the points one year, two years, three years.

  13        Q.     Okay.   And given that these are your words, it

  14    was your belief that this model shows the greatest

  15    results for accurately identifying prolific offenders

  16    that are actively contributing to the modern crime

  17    environment; is that right?

  18        A.     Most accurately among the 196 that were

  19    studied.

  20        Q.     All right.   Did you compare along with the 196

  21    to the existing formula?

  22        A.     Yes.

  23        Q.     Did you find that scenario 9 variation did a

  24    better job than the existing formula?

  25        A.     I didn't know how to define better, so we -- I
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 74 of 119 PageID 2930
                                                                             74


   1    believe we showed that to the district analysts to make

   2    a determination as to what was closest or what was good,

   3    because while they know what the prolific pool looks

   4    like or at least the top 250 that I show them, they have

   5    their own ideas obviously on working with these people

   6    which names keep popping on their radar, and so it's a

   7    subjective method, but that was -- that was the best

   8    method that they could see amongst 196.

   9        Q.    Okay.   I should have spoken in more precise.

  10    So it was your -- based on your calculation, you thought

  11    scenario 9, variation 8, was based on the data more

  12    likely to produce results that would be beneficial in

  13    preventing crime?

  14        A.    I don't --

  15              MR. POULTON:    Object to the form.

  16        A.    I don't know that.

  17    BY MR. BARGIL:

  18        Q.    Okay.

  19        A.    It's just like the why, you know, and a data

  20    analyst cannot answer why.

  21        Q.    Yeah.   I understand that.     Fair enough.

  22              Looking at the last bullet point on the

  23    right-hand column, is it fair to say that you

  24    recommended removing modifiers such as gang affiliation,

  25    violation of probation, failure to appear, and
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 75 of 119 PageID 2931
                                                                             75


   1    suspicions to focus strictly on arrest history?

   2        A.    That was -- that was the result of -- that was

   3    how the model was built was based on those factors.

   4        Q.    So the proposed model would have removed things

   5    currently taken into consideration under the model at

   6    the time and the model as it exists now; is that right?

   7        A.    Yes.    Also, it would make my work a lot easier

   8    because I wouldn't have to do the name matching.

   9        Q.    Ah.

  10              (Exhibit D was marked for identification.)

  11              MR. BARGIL:    Okay.    Tom, this is Exhibit D.     It

  12        a spreadsheet depicting the unvetted prolifics for

  13        part of 2018.

  14              MR. POULTON:    Okay.

  15    BY MR. BARGIL:

  16        Q.    Mr. Hiebert, I know I just said out loud on the

  17    record what we are looking at, but if you don't mind,

  18    will you tell me what this is?

  19        A.    This is the prolific pool for I don't know what

  20    date but sorted in descending order by score.

  21        Q.    Okay.    Will you turn to the last page of the

  22    document, please, and will you look at the top line?

  23        A.    Unvetted prolifics.

  24        Q.    What's the line underneath that?

  25        A.    This Excel shows the unvetted top 202 prolifics
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 76 of 119 PageID 2932
                                                                             76


   1    in spreadsheet Top 202.

   2        Q.     Okay.

   3               MR. POULTON:     Can you -- I'm sorry, Ari.     Can

   4        you tell me which order and which year that

   5        corresponds to?       Do we know?

   6               MR. BARGIL:     I could ask the witness on the

   7        record.

   8        A.     I do not know.

   9    BY MR. BARGIL:

  10        Q.     Okay.   My understanding is that this is 2018

  11    and run at I think Q4 of 2018.          And you can confirm that

  12    for me, sir, if you take a look at the second paragraph

  13    on the last page, there's a line in there that talks

  14    about the date here.

  15        A.     Oh, very good.     Yes.

  16               Column C indicates if they are at the Land O'

  17    Lakes Jail on November 8th of 2018.

  18        Q.     So when would that indicate to you that this

  19    list was created?

  20        A.     That means I did the calculation then, and it

  21    was probably forwarded to the district analysts shortly

  22    after that, within a week or two.

  23        Q.     So this would have been for the fourth quarter

  24    of 2018?

  25        A.     The district analysts take data that's passed
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 77 of 119 PageID 2933
                                                                             77


   1    to make a list for the deputies to look at for the

   2    upcoming quarter.      So the data would have been through

   3    November 8th, but the -- they would have been on the

   4    prolific list probably starting January 1st or so.

   5        Q.    Okay.     So this would have been more likely data

   6    used for the prolific list for first quarter of 2019?

   7        A.    Correct.

   8        Q.    Okay.     Now looking in that same section in the

   9    line that begins with some factors, can you read that

  10    sentence for me?

  11        A.    Some factors that may influence your choice on

  12    whether to include them in your list of prolifics.

  13        Q.    I want to focus on where you say your choice.

  14        A.    Yes.

  15        Q.    Is it the analyst's choice on who to include in

  16    the list of prolifics?

  17        A.    According to some strict criteria, and that's

  18    what I tried to list here.

  19        Q.    Okay.     Are these factors that you list, these

  20    four things, are these -- these are strict criteria that

  21    they must consider?

  22        A.    No.     But if they notice, for instance, on the

  23    third one, if they did eight business burglaries all on

  24    one day not quite three years ago, then that might be a

  25    reason to drop them off the list.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 78 of 119 PageID 2934
                                                                             78


   1        Q.     So are these recommendations to the district

   2    analysts --

   3        A.     Yes.

   4        Q.     -- on things that they should take into

   5    account?

   6        A.     Sorry.    Yes.

   7        Q.     Can they take other things into account?

   8               MR. POULTON:       Object to the form.

   9        A.     Deceased would be another one.

  10    BY MR. BARGIL:

  11        Q.     I'm not asking you to list them.

  12        A.     Okay.

  13        Q.     I'm just asking whether there are other things

  14    not identified here as --

  15        A.     Yes, very likely.

  16        Q.     Let me finish my question.          Are there other

  17    things not identified on this list of things that might

  18    influence their decision that district analysts could

  19    take into account when deciding on their final prolific

  20    offender list?

  21        A.     Very likely.       Like I just listed one, but it's

  22    only for exclusion rather than inclusion.

  23        Q.     Okay.    Can somebody be included as a result of

  24    exclusion?

  25        A.     I'm sorry.       I didn't follow.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 79 of 119 PageID 2935
                                                                             79


   1          Q.   Well, if the goal is to have roughly 100 people

   2    and somebody is sitting at 105 and you exclude 5 people

   3    above them, would that person now be sitting within the

   4    top 100?

   5          A.   Yes.

   6          Q.   Okay.    Do you know whether district analysts

   7    ever do that?

   8          A.   That's why I give -- yes, that's why I give

   9    them the list of 250 or so or 202 in this case, so that

  10    when they remove certain, then they have more to look

  11    at.

  12          Q.   I see.

  13               (Exhibit E was marked for identification.)

  14    BY MR. BARGIL:

  15          Q.   Okay.    Do you recognize the document that's in

  16    front of you?

  17          A.   Yes.

  18          Q.   Will you explain what it is?

  19          A.   It is another prolific offender list from

  20    approximately three months prior to the last one.          No,

  21    that was 2019?      Any how --

  22          Q.   The sequence isn't --

  23          A.   September of 2019, yes.

  24          Q.   Okay.    And there's a cover note on this

  25    spreadsheet as well; is that right?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 80 of 119 PageID 2936
                                                                             80


   1        A.      Yes.

   2        Q.      And at the bottom will you read that final

   3    sentence?

   4        A.      The spreadsheets show if the offender is

   5    currently in the Land O' Lakes Jail (not other

   6    imprisonment).

   7        Q.      Oh, I'm sorry.     And will you read the sentence

   8    before that?

   9        A.      Oh.     Some offenders may have moved, so trade

  10    with other analysts as needed.

  11        Q.      Okay.     Again, is this a note to the district

  12    analysts?

  13        A.      Yes.

  14        Q.      Is that sentence there intended to help them

  15    guide their weighing of prolifics?

  16        A.      Yes.     Some offenders move from one district to

  17    another.     Some are homeless and start hanging out in the

  18    other districts.

  19        Q.      Okay.

  20        A.      But the district analysts are generally aware

  21    of who moved where.

  22        Q.      Okay.     It says, "The spreadsheets show if the

  23    offender is currently in the Land O' Lakes Jail but not

  24    other imprisonment."        Why wouldn't it show other

  25    imprisonment?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 81 of 119 PageID 2937
                                                                             81


   1        A.    I don't have access to other jurisdictions

   2    incarceration.

   3        Q.    Okay.   How do you know whether someone has

   4    moved?

   5        A.    I don't.

   6        Q.    Okay.   Speaking of whether someone's moved, is

   7    it possible that -- well, we talked earlier about people

   8    who are on the prolific offender list not being on the

   9    prolific offender list in subsequent years.         Do you

  10    remember that discussion?

  11        A.    Yes.

  12        Q.    Is one of the reasons why they might not be on

  13    the prolific offender list in subsequent years because

  14    they will have moved out of town?

  15        A.    Yes.

  16              (Exhibit F was marked for identification.)

  17    BY MR. BARGIL:

  18        Q.    Okay.   Do you recognize the document that's in

  19    front of you?

  20        A.    Yes.

  21        Q.    Why don't you describe briefly?

  22        A.    It's another list of the prolific pool in --

  23    with sorted by descending number of points for December

  24    of '20.

  25        Q.    Okay.   Will you read the note at the bottom?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 82 of 119 PageID 2938
                                                                             82


   1        A.    After our recent discussion about multiple

   2    arrests on the same day, I again modified the

   3    calculations.      We wanted to count multiple robberies on

   4    the same day but not multiple auto burglaries.         Column 3

   5    now shows the extra unwanted points for additional auto

   6    burglaries on the same day.        These points are subtracted

   7    resulting in the new first column (Mod Points).

   8        Q.    Okay.     Break it up.    If you look at the first

   9    sentence that begins "after our recent discussion," do

  10    you recall what discussion this refers to?

  11        A.    Yes.     I referred to it earlier.    I sat down

  12    with the district analysts, and we talked about what to

  13    do with auto burglaries since they were -- appeared to

  14    be over counted.

  15        Q.    Okay.     So did you -- is it fair to say you

  16    created one unvetted list, and in that unvetted list

  17    there was concern that auto burglaries had been over

  18    counted, and then a discussion was had to address that?

  19        A.    No.     It had been a topic that we'd considered

  20    over a period of time, and then when we had our meeting,

  21    the analysts decided that they wanted to go with just

  22    one auto burglary counted per day.

  23        Q.    So in prior lists, unvetted lists from earlier

  24    years before this, was that not how they were counted?

  25        A.    Correct.     They were counted multiple --
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 83 of 119 PageID 2939
                                                                             83


   1    multiple times.

   2        Q.      Did this require you to make any formal changes

   3    to the scoring system?

   4        A.      Well, the database or the calculations changed

   5    slightly.     I just -- whenever there are multiple, I just

   6    counted the first one on that day and kept the rest of

   7    them in the detail list, but gave them zero points.

   8        Q.      Okay.    So you, basically, instructed the

   9    computer to count those differently; is that right?

  10        A.      Correct.     Yes.

  11        Q.      Okay.    You still got the same number of points,

  12    but whether that number of points was assigned multiple

  13    times or just once was the change?

  14        A.      If you look at the second page, there is an

  15    example.     Our top offender here had 24 points subtracted

  16    from his total score because of auto burglaries on the

  17    same day.

  18        Q.      I see.

  19        A.      And since they count two, that means over a

  20    period of days that he did auto burglaries there were

  21    twelve that were duplicates.

  22        Q.      I see.     Okay.    If you continue on in that first

  23    sentence at the second clause there it says, "I again

  24    modified the calculations."          The use of the word again

  25    suggests that there were several iterations of
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 84 of 119 PageID 2940
                                                                             84


   1    calculations; is that right?

   2          A.   Yeah, about every two years is what I said

   3    before.

   4          Q.   Oh, okay.    And so this is a reference to having

   5    changed from something that had been done a certain way

   6    for about two years?

   7          A.   Yes.

   8          Q.   Okay.

   9               (Exhibit G was marked for identification.)

  10    BY MR. BARGIL:

  11          Q.   Hold on one second.    Do you recognize what this

  12    is?

  13          A.   Yes.    This is the unvetted prolific pool list

  14    for April of 2021.

  15          Q.   Okay.    Let's set this aside for a moment.

  16               (Exhibit H was marked for identification.)

  17    BY MR. BARGIL:

  18          Q.   Does this look familiar to you?

  19          A.   Yes.    I don't know what date it's from, but

  20    it's another prolific pool list.

  21          Q.   Okay.    Will you look to what is Bates number

  22    11305?

  23          A.   I'm sorry?

  24          Q.   I'm sorry.    11305.

  25          A.   Okay.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 85 of 119 PageID 2941
                                                                             85


   1        Q.    Can you read the note there?

   2        A.    "While the top 250 are divided into their

   3    district of residence, the goal is to have about 100

   4    prolific offenders for deputies to be aware of."

   5        Q.    Okay.     And again, is that a note that you're

   6    directing toward your analysts?

   7        A.    Yeah, the district analysts.       As you can see,

   8    the district one, district two, district three

   9    distribution is not even.

  10        Q.    Uh-huh.

  11        A.    And so some of them were feeling left out.

  12        Q.    All right.     Is the goal to have a roughly even

  13    number in each district?

  14        A.    No.     I don't know that there is a goal.     My

  15    personal feeling is that they should be fairly evenly

  16    distributed amongst the districts because so are the

  17    scores.

  18        Q.    I see.     Well, it shows here, if I'm not

  19    mistaken, that the scores are not fairly evenly

  20    distributed amongst the districts; is that right?

  21        A.    Right.     But they should -- what I meant was

  22    that it seems to me that if district one has as many in

  23    the top 250 as districts two and three combined, then

  24    they should probably have about half of the prolific

  25    offenders.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 86 of 119 PageID 2942
                                                                             86


   1        Q.    Oh, okay.

   2        A.    That's my feeling though.      That's not a rule.

   3        Q.    Well, let me clarify what you said and make

   4    sure I'm understanding what you said.        Are you

   5    suggesting that in that scenario roughly half of the

   6    prolific offenders would reside in district one?

   7        A.    Yes.

   8        Q.    Okay.    As opposed to that they should cut in

   9    half the number of prolific offenders so that they can

  10    be distributed to other districts?

  11        A.    Right.

  12        Q.    Okay.    Here you say the goal is to have about

  13    100 prolific offenders?

  14        A.    Yes.

  15        Q.    Where does that number come from?

  16        A.    When we started the program, there was a

  17    discussion as to whether we should have a point value

  18    cutoff, and everybody above that got to be a prolific

  19    offender, barring exclusions, or if we wanted to have a

  20    number certain.     And we decided on the number certain

  21    because we could determine how many we wanted the

  22    deputies to be aware of.      They can't handle looking at

  23    too many people, and too few wouldn't be a good program.

  24        Q.    Why would too few not be a good program?

  25        A.    As far as the goal of suppressing crime, if you
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 87 of 119 PageID 2943
                                                                             87


   1    take the top ones, then you hopefully reduce the crime

   2    that they do, and 100 seemed like a good number to go

   3    after.

   4        Q.    Okay.   Was that based on anything?

   5        A.    No.

   6        Q.    I mean, if there were no crime in Pasco County

   7    or scant little --

   8        A.    That would be nice.

   9        Q.    I'm sure it would be -- and the people who

  10    were, you know, falling at the bottom end of the

  11    prolific offender classification were people who were

  12    law abiding citizens minding their own business but

  13    happened to have done something two or three years or

  14    been suspected of doing something two or three years

  15    ago, would those people be removed from the list by the

  16    district analysts, or would they want to stick to the

  17    100 number?

  18              MR. POULTON:    Object to the form.      Go ahead and

  19        answer if you can.

  20        A.    That's not the case.      I mean, as you saw,

  21    violent crime is going up, and while property crime has

  22    been going down, we still have a large number of

  23    offenders, usually 1,800 to 2,000 to choose from.

  24    BY MR. BARGIL:

  25        Q.    It was a hypothetical question.
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                                                                             88


   1        A.      Okay.

   2        Q.      Answer it if you can.

   3                MR. POULTON:    He's free to answer that it's a

   4        terrible hypothetical, isn't he?

   5                MR. BARGIL:    Did you have an objection, Tom?

   6                MR. POULTON:    I made the objection.      I objected

   7        to form and he answered.        You just seem to want to

   8        debate it.

   9    BY MR. BARGIL:

  10        Q.      Well, I'm going to ask if you're able to answer

  11    the hypothetical question, whether it was a good one or

  12    a bad one.     There are no good hypothetical questions.

  13    So if you'd like to attempt to answer it,        I'd

  14    appreciate that.

  15        A.      I don't -- I don't foresee that happening.        So

  16    I think the hypothetical question is extremely unlikely

  17    to occur.

  18        Q.      Okay.

  19                (Exhibit I was marked for identification.)

  20                MR. BARGIL:    Tom, I just handed him the list

  21        summary that you provided us.

  22    BY MR. BARGIL:

  23        Q.      Mr. Hiebert, I don't think you've seen this

  24    before.

  25        A.      I generated it.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 89 of 119 PageID 2945
                                                                              89


   1           Q.      Oh, you generated it.     I should have actually

   2    known that.           Well, then you know, of course, what it is.

   3    I was wondering if you could take a look at the last

   4    column, which is the last vertical column, which says

   5    Robert A. Jones, IV.

   6           A.      Yes.

   7           Q.      And it appears that he doesn't appear in the

   8    rankings for any of the years other than quarter one of

   9    2017; is that right?

  10           A.      Correct.

  11           Q.      Do you have any idea why that is?

  12           A.      Well, even for that one quarter, he ranked at

  13    198.        So it's unlikely that he would have been selected

  14    as a prolific offender.

  15           Q.      Do you know whether he was in fact selected as

  16    a prolific offender?

  17           A.      I did a recent check and -- because of a

  18    question about that, and I don't believe that he was.             I

  19    think he was a Top 5.

  20           Q.      Okay, okay.     What did you look at when you were

  21    trying to find out whether he had ever been designated

  22    as a prolific offender?

  23           A.      Oh, there is a table in the records management

  24    system when the district analysts modify whenever they

  25    put in prolific offender Top 5 district target, and it
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                                                                             90


   1    -- as far as I know no rows have been deleted out of it,

   2    but it shows the person or their name ID, and when the

   3    record was added, and when the record was most recently

   4    modified.     And so there was not, if I remember right, an

   5    entry for prolific offender for Robert Jones, IV, but

   6    there was a Top 5.

   7        Q.      Okay.     If he had ended up on the prolific

   8    offender list, do you have any idea how that would have

   9    happened?

  10        A.      No.     Data entry would be the only thing that I

  11    could think of.

  12        Q.      What did you say?

  13        A.      Data entry problem, an error in data entry.

  14        Q.      On whose part?

  15        A.      Probably a district analyst, if he was a

  16    prolific, but I don't believe he was a prolific.

  17        Q.      Okay.     Could it have been a discretionary

  18    decision made by a district analyst?

  19        A.      I don't think so.

  20                Oh, in case you were interested, these are the

  21    ranking numbers in the pool for each of the people for

  22    each those documents.        I was just asked to find when

  23    these people showed up in documents that I generated.

  24        Q.      So if he was 198 in the pool --

  25        A.      Yes.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 91 of 119 PageID 2947
                                                                             91


   1        Q.    -- if, you know, 100 people were removed from

   2    the pool --

   3        A.    Then it's possible --

   4        Q.    -- he could have found himself in the top 100?

   5        A.    -- but it's unlikely.

   6        Q.    Well, that goes to a question that I asked

   7    before.   Do you have any sense, I mean, if there are

   8    100 -- if you look at the top 100 in an unvetted list,

   9    are you able to estimate how many of those people

  10    roughly from quarter to quarter are removed --

  11        A.    No.

  12        Q.    -- for any reason?

  13        A.    The only indication that I would have from the

  14    data that I look at is whether or not they were

  15    currently at Land O' Lakes Jail, but that's not

  16    conclusive because they may be there for a one-week

  17    stint, and then they would still be, according to the

  18    analyst, a viable prolific offender.

  19        Q.    Okay.   But having done this quarterly for

  20    nearly a decade, you don't have any sense for how many

  21    people out of the initial Top 100 end up being removed?

  22        A.    No, I don't.

  23        Q.    Okay.   And is part of the reason --

  24        A.    I have been asked for more, and that's why I

  25    went up to as many as 250 --
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 92 of 119 PageID 2948
                                                                             92


   1        Q.     I see.

   2        A.     -- but 250 is a great plenty.

   3        Q.     Okay.     And the goal after giving over, you

   4    know, a list of 250 is for about 150 of those to be

   5    removed?

   6        A.     Yes.

   7        Q.     Do you find that the majority of those who are

   8    removed are at the bottom end of the 250, or is it

   9    evenly distributed?

  10        A.     I haven't checked.

  11        Q.     Okay.     Would checking help you ascertain the

  12    usefulness of your scoring system?

  13        A.     No, because the vast majority would be

  14    incarcerated for three months or more.

  15        Q.     How do you know that?

  16        A.     That's -- that would be the primary reason for

  17    someone not being selected as far as I could tell.

  18        Q.     Okay.     But are you checking for anything else?

  19        A.     No.

  20        Q.     Okay.     Going back to the creation of the pool,

  21    do you know if people who are in the top 250 are

  22    notified whether they've been in the top 250?

  23        A.     No.     As far as I know, there's no notification

  24    of the prolific offenders.

  25        Q.     Okay.     Do you know whether in an instance where
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 93 of 119 PageID 2949
                                                                             93


   1    you're dealing with a juvenile, do you know whether

   2    their parents are notified?

   3        A.    Not that I know of.

   4        Q.    Do you know whether once you've been put on the

   5    prolific offender list -- I think you answered this, but

   6    do you know whether once you've been put on the prolific

   7    offender list you're notified?

   8        A.    I don't know of any notification.

   9        Q.    In the instance of a juvenile, once a juvenile

  10    is put on the prolific offender list, do you know

  11    whether the parents are notified?

  12        A.    No.

  13        Q.    Do you know whether there's a mechanism by

  14    which someone could be taken off of the prolific

  15    offender list?

  16              MR. POULTON:    Object to the form.

  17        A.    The district analysts take them off pretty much

  18    every quarter.

  19    BY MR. BARGIL:

  20        Q.    Okay.

  21        A.    Or that's the process.      There have been some

  22    quarters where I did not generate a list and we went,

  23    you know, six months or could be even longer between

  24    lists that I generated, and so they may have stayed on

  25    for longer than expected.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 94 of 119 PageID 2950
                                                                             94


   1        Q.     Okay.   And I think I misspoke.     Do you know

   2    whether -- once someone finds out they have been put on

   3    the prolific offender list, do you know whether they can

   4    ask to be removed?

   5        A.     I don't know.

   6        Q.     Do you know whether a parent can ask for a

   7    child to be removed from the prolific offender list?

   8        A.     I don't know that either.

   9        Q.     Okay.   So as far as you know, the only way to

  10    be removed from the list is to be removed by an analyst?

  11        A.     Yes.

  12               MR. POULTON:    Object to the form.

  13    BY MR. BARGIL:

  14        Q.     I have another question.     Let's go back to

  15    Exhibit A if you don't mind.

  16               I think it's Exhibit A.     It's the ILP manual.

  17    Go to page 76 of the manual.

  18               You mentioned earlier on in your testimony that

  19    part of the goal of having prolific offenders and

  20    prolific offender checks is to provide people with

  21    resources I think that will help them stay out of

  22    trouble.    Is that a fair encapsulation?

  23        A.     Yes.

  24        Q.     Okay.   Do you recognize what this depicts on

  25    page 76 of the manual?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 95 of 119 PageID 2951
                                                                             95


   1        A.    I have not seen it before, but I was aware of

   2    many of these.

   3        Q.    Okay.    When you say you were aware of many of

   4    these, do you know what they are?

   5        A.    Let's see.     Some of them are halfway houses for

   6    abused or battered people.

   7        Q.    I see.    So you're aware of the resources that

   8    are written on this card?

   9        A.    Yes.

  10        Q.    As far as you know, is this something that's

  11    handed to prolific offenders?

  12        A.    I don't know that.

  13              MR. POULTON:     Object to the form.

  14    BY MR. BARGIL:

  15        Q.    Could this also be something that's handed out

  16    to homeless people?

  17        A.    I don't know that either.

  18        Q.    Do you have any idea why a prolific offender

  19    might be advised that panhandling is prohibited in Pasco

  20    County?

  21              MR. POULTON:     Object to the form.

  22        A.    The homeless people can be panhandlers.

  23    BY MR. BARGIL:

  24        Q.    Well, my question is so it -- let's start here.

  25    Can we agree that at the top of the page this item is
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 96 of 119 PageID 2952
                                                                             96


   1    identified as a prolific offender palm card?

   2          A.   Okay.   Good.    I'd not -- I don't think I'd seen

   3    it.

   4          Q.   But we can agree this is how it's identified?

   5          A.   Yes, that's what it says.

   6          Q.   And based on your knowledge of the ILP manual,

   7    do you know whether deputies are encouraged to provide

   8    prolific offenders with prolific offender palm cards?

   9          A.   I don't know.

  10          Q.   Okay.   If I were to represent to you that they

  11    are encouraged to provide that, would it be fair to say

  12    that this would be that card?

  13               MR. POULTON:     Object to the form.    The witness

  14          has already said he doesn't know any of this.

  15    BY MR. BARGIL:

  16          Q.   You can try to answer.

  17          A.   That's correct.     I don't know.   I mean, there

  18    are services on here.       I don't know if it's a good list

  19    or a bad list.

  20          Q.   Okay, okay.     Well, I mean, you do know some of

  21    these institutions; is that right?

  22          A.   Yes.

  23          Q.   Why don't you tell me which ones you know?

  24          A.   Metropolitan Ministries, I know about them from

  25    the news where they give food out to people.
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 97 of 119 PageID 2953
                                                                             97


   1        Q.     Okay.

   2        A.     Salvation Army West and East, one of them has a

   3    halfway house for battered women.        Let's see.

   4        Q.     You don't need to go through each and every one

   5    of them.    Okay.    You don't have to go on.

   6               Are any of these homeless charities?

   7               MR. POULTON:     Object to the form.

   8        A.     I don't know.     I'm looking through.     There's

   9    specific ones, but I'm not fining any homeless charities

  10    that I know of.

  11    BY MR. BARGIL:

  12        Q.     Okay.    That's fine.    We can take a quick break,

  13    and I'll chat with my co-counsel really quickly, and

  14    we'll go from there.

  15               (Short break.)

  16               (Exhibit J was marked for identification.)

  17    BY MR. BARGIL:

  18        Q.     Okay.    I want to thank you for your time today.

  19    Just one or two quick follow-up questions.          Can you see

  20    that screen okay?

  21        A.     Yes.

  22        Q.     Okay.    Will you --

  23               MR. POULTON:     Can you tell me what it is?     I

  24        can't see it from here.

  25               MR. BARGIL:     Sure.   It is the document that you
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 98 of 119 PageID 2954
                                                                             98


   1           sent us, I believe, Tom, and it is a listing of

   2           Dalanea Taylor, Donnie McDougall, Tyler Paneson and

   3           Robert Jones and the dates on which they were

   4           identified as prolific offenders, I believe.

   5                MR. POULTON:     Well, I'm glad you brought that

   6           up because I was going to ask about it.        Well, I'll

   7           let you go ahead and ask your question.        Then before

   8           you wrap it up, I wanted to ask a question of you

   9           guys on that, but go ahead.

  10                MR. BARGIL:     Okay.     Or at least it says

  11           offender type.

  12    BY MR. BARGIL:

  13           Q.   Can you see column -- the fourth column there

  14    which is actually numbered 151?

  15           A.   Person ID?

  16           Q.   Well, just the bottom row.        Can you make that

  17    out?

  18           A.   Oh, yes.

  19           Q.   And do you see where it says Robert Jones to

  20    the right there?

  21           A.   Yes.

  22           Q.   And offender type it says prolific; is that

  23    right?

  24           A.   Yes, it does.     Okay.

  25           Q.   Does this modify your testimony at all?
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 99 of 119 PageID 2955
                                                                             99


   1           A.   Yes.     I'd forgotten that he was on this list.

   2    I was thinking of someone else.

   3           Q.   Okay.     So when you mentioned earlier that you

   4    had looked in the RMS system --

   5           A.   Right.

   6           Q.   -- to see whether he had been classified a

   7    prolific offender, is it correct that you were looking

   8    perhaps at someone else?

   9           A.   Yes.     It appears that he was a prolific

  10    offender from January of 2017 to March of 2017.

  11           Q.   Okay.     And that would coincide with the date

  12    range on the document I showed you toward the end of the

  13    deposition if we're --

  14           A.   Yes.     So the unlikely happened.

  15           Q.   The unlikely happened.     He was at 198, and

  16    nevertheless he was a prolific offender, is that fair to

  17    say?

  18           A.   Yes.

  19           Q.   So is it -- I want to get a good understanding

  20    for why you were mistaken earlier.        Is it possible that

  21    you were looking at the correct RMS profile and that it

  22    wasn't accurately reflected in the profile, or would it

  23    had to have been that you were looking at a different

  24    person?

  25           A.   I think I --
Case 8:21-cv-00555-SDM-CPT Document 125 Filed 06/06/22 Page 100 of 119 PageID 2956
                                                                            100


    1        Q.    If you know?

    2        A.    I think I had to be looking at the wrong

    3   person.

    4        Q.    Okay.

    5        A.    Or I was remembering the wrong person.

    6        Q.    Okay.   So you have confidence in the accuracy

    7   of the RMS profile?

    8        A.    Yes.

    9        Q.    Okay.

   10        A.    As I said before, there may have been some

   11   deletions to this table that's reflected here early on,

   12   but I don't think that there were.

   13        Q.    Deletions to which table?

   14        A.    To -- this information comes from a table of

   15   all of the different Top 5 prolific, et cetera, and

   16   they're all identified.

   17        Q.    Why would somebody delete a record of someone's

   18   classification as a prolific offender?

   19        A.    When we didn't have a good process very early

   20   on, there may have been some deletions, but I'm not

   21   aware of any.

   22        Q.    When you say very early on, when would that

   23   have been?

   24        A.    Probably -- I don't know.      When did the

   25   prolific offender program start?       Maybe 2013, 2014.
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    1        Q.    Okay.    But if he were a prolific offender in

    2   2017, there's no --

    3        A.    I don't think that there -- no, I'm not -- I'm

    4   quite confident there wouldn't have been any deletions

    5   out of that table.

    6        Q.    Okay.    So is it your testimony that if you were

    7   to take a look at the RMS profile for Robert Jones, IV,

    8   you would in fact see that he was classified as a

    9   prolific offender in the first quarter of 2017?

   10        A.    Yes.

   11              MR. BARGIL:     Okay.   I don't think I have

   12        anything further.

   13              MR. POULTON:     I'd like to ask something just

   14        while you still have that up there.

   15              MR. BARGIL:     Tom, Tom, I don't mean to

   16        interrupt you, but before we kind of rest, I just

   17        want to check with Rob really quickly if he wanted

   18        to confer again.

   19              MR. JOHNSON:     Are we off the record?

   20              MR. BARGIL:     We can be.   We're off, yes.

   21              (Off-the-record discussion.)

   22                            CROSS EXAMINATION

   23   BY MR. POULTON:

   24        Q.    Sorry.    When Rob spoke, it messed up my Zoom

   25   here on my end on what I'm looking at.        There we go.
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    1   Okay.     I can't see it no matter how much you try to zoom

    2   me in.     I appreciate it, but this -- did you generate

    3   this document?

    4        A.     Yes.

    5        Q.     You did?

    6        A.     A few days ago.

    7        Q.     Okay.     So when it uses the phrase -- and again

    8   I apologize I can't see it.           There's some sort of a

    9   status or type and it says prolific?

   10        A.     Yes, offender type of prolific, P-R-O-L.

   11        Q.     Is there any chance that during the timeframe

   12   when this was generated, prolific might have been used

   13   to describe both someone in the prolific offender list,

   14   the formal prolific offender list, and also people who

   15   might have been Top 5?

   16        A.     No.     During that same time period there were

   17   also Top 5's and targets, T-A-R-G.

   18        Q.     Okay.     So that list is definitely prolific

   19   offender list?

   20        A.     Yes.

   21        Q.     Okay.     All right.     I appreciate it.   I just

   22   wasn't sure how that came to be, but okay.

   23               MR. BARGIL:     Was what it, Tom?

   24               MR. POULTON:     Yeah, that's it.     I'm sorry.

   25        Yes, that's it.       Thanks.     I didn't in my own mind.
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    1              MR. BARGIL:    Okay.

    2              MR. POULTON:    Because I know that, you know,

    3        we've had prior testimony that sometimes going

    4        back --

    5              MR. BARGIL:    Okay.    Okay, Tom.

    6              MR. POULTON:    -- four, five, six years ago

    7        prolific offenders might have referred to both, but

    8        I think that may just be in a deputy role.

    9              MR. BARGIL:    Okay.    Thanks, Tom.     Just one last

   10        I guess general question.

   11                        REDIRECT EXAMINATION

   12   BY MR. BARGIL:

   13        Q.    If you don't mind for the sake of the record,

   14   can you interpret this document for us?           And by that I

   15   mean more specifically identify the people who are on it

   16   and what their classification was and the dates on which

   17   they were classified as such?

   18        A.    Okay.   Let's see.     Dalanea Taylor was a

   19   prolific offender from looks like March of 2017 until --

   20   I'll have to come back to it -- possibly until September

   21   of 2019.    However, if she was on and off the list during

   22   that time, she was prolific for a while, not a prolific

   23   for a while, prolific, not prolific, all we have is the

   24   date that she was first added and the date that she was

   25   most recently inactived --
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    1        Q.    Okay.

    2        A.    -- or modified.    So we don't know from this

    3   table or from any table in the records management system

    4   whether when that turned on and off.

    5        Q.    Okay.   That's fine.

    6        A.    And then we have Donnie McDougall as prolific

    7   offender from January of 2017 to September of 2021.

    8   Again, possibly on and off, but I don't know.         Tyler

    9   Paneson from January of 2017 to October of 2021, and

   10   Robert Jones I'm assuming the fourth, because his birth

   11   date is '99, from January of 2017 to March of 2017.

   12        Q.    Okay.   And just to clarify, each one of these

   13   people were classified as a prolific offender during

   14   those date ranges?

   15        A.    Yes.

   16        Q.    And they are all inactive -- their prolific

   17   status all -- for each of them their prolific status is

   18   listed as inactive; is that right?

   19        A.    Correct.

   20              MR. BARGIL:    Okay.   I think that's everything.

   21        Rob, did you want to confer again?

   22              MR. JOHNSON:    Well, so this is something that I

   23        don't know if this is a question of the witness.

   24        Maybe while we have him here, we had discussed

   25        whether this search was run for Anthony McDougall.
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    1              MR. POULTON:    I -- well, I just got an -- I

    2        think I mentioned earlier today I got an email, and

    3        I haven't had a chance to look at it yet.        But I

    4        made that query for you.      I don't know if that's

    5        happened or not.

    6              THE WITNESS:    I did that query.

    7   BY MR. BARGIL:

    8        Q.    So if you're able to, since you're still here

    9   and did that query, if you recall what the result was?

   10        A.    Yeah.   Anthony was -- let's see.      He was a

   11   prolific offender for about 20 minutes, so very likely

   12   an analyst misstep and then they corrected it.

   13        Q.    Okay.

   14        A.    But he was also a Top 5 for a number of months,

   15   and I don't remember which months it was.

   16        Q.    Okay.   You'll have the opportunity to correct

   17   that by the way since the information is not in front of

   18   you --

   19        A.    Okay.

   20        Q.    -- but I appreciate that answer.

   21              MR. POULTON:    I'll forward you whatever that

   22        spreadsheet was on that issue.

   23              MR. BARGIL:    Thank you, Tom.

   24              MR. JOHNSON:    And again this is not necessarily

   25        a question but just while we have the right person
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                                                                            106


    1        here, is it possible to run the similar analysis for

    2        Top 5 and, Tom, would you have any objection to

    3        getting us that as well?

    4                MR. POULTON:    No, but I don't know that that --

    5        well, I'll let him answer the first question.           Can

    6        you do it for Top 5?

    7                THE WITNESS:    Yes.

    8                MR. POULTON:    Okay.   Yeah, we can do that.

    9                THE WITNESS:    For just the plaintiffs?

   10                MR. BARGIL:    And the kids very likely.

   11                MR. POULTON:    Oh, and the kids.

   12                MR. BARGIL:    We'll give you the names.

   13                THE WITNESS:    Well, I include that.

   14                MR. BARGIL:    You've got them all?

   15                THE WITNESS:    Yes.

   16                MR. BARGIL:    It will be the same people on the

   17        list plus Anthony McDougall.        Oh, he's on here.

   18        Okay.

   19                MR. POULTON:    Okay.   We can do that.

   20                MR. BARGIL:    Sir, I think our time for now is

   21        done.     As we have done with the other depositions,

   22        because discovery is ongoing, we are going to hold

   23        this open and reserve the right to bring you back in

   24        here to ask you additional questions.

   25                THE WITNESS:    Sure.
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    1              MR. BARGIL:       I hope that's not the case, and in

    2        the meantime I want to thank you for your time with

    3        us this afternoon, and again I apologize for our

    4        tardiness in getting started.

    5              THE WITNESS:       That's all right.

    6              MR. POULTON:       We'll read.

    7                            *    *   *   *   *   *

    8              (THEREUPON, THE TAKING OF THE DEPOSITION WAS

    9        CONCLUDED AT 5:13 P.M.)

   10                            *    *   *   *   *   *

   11                        S T I P U L A T I O N

   12           It was thereupon stipulated and agreed by and

   13   between counsel present for the respective parties and

   14   the deponent that the reading and signing of this

   15   deposition is not waived.

   16                            *    *   *   *   *   *

   17

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    1                         CERTIFICATE OF OATH

    2   STATE OF FLORIDA

    3   COUNTY OF PASCO

    4           I, the undersigned authority, certify that

    5   STEPHEN HIEBERT personally appeared before me and was

    6   duly sworn on January 12, 2022.

    7           WITNESS my hand and official seal this 2nd

    8   day of February, 2022.

    9

   10

   11                           ________________________________
                                Judy Anderson
   12                           Notary Public - State of Florida
                                Commission No.: GG 276821
   13                           My Commission Expires: 1-5-2023

   14

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    1                       CERTIFICATE OF REPORTER

    2

    3   STATE OF FLORIDA

    4   COUNTY OF PASCO

    5

    6           I, JUDY ANDERSON, Court Reporter, certify that I

    7   was authorized to and did stenographically report the

    8   foregoing deposition and that the transcript is a true

    9   record of the testimony given by the witness.

   10

   11           I further certify that I am not a relative,

   12   employee, attorney, or counsel of any of the parties,

   13   nor am I a relative or employee of any of the parties'

   14   attorney or counsel connected with the action, nor am I

   15   financially interested in the action.

   16

   17           Dated this 2nd day of February, 2022.

   18

   19                                 ______________________________
                                      Judy Anderson, Court Reporter
   20

   21

   22

   23

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   25
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    1   DALANEA TAYLOR; TAMMY
        HEILMAN; DARLENE DEEGAN;
    2   and ROBERT A. JONES, III,

    3      Plaintiffs,

    4   vs.                          Case No.: 8:21-cv-00555-SDM-CPT

    5   CHRIS NOCCO, in his
        official capacity as
    6   Pasco County Sheriff,

    7     Defendant.
        ________________________/
    8

    9
                           DEPONENT'S SIGNATURE PAGE
   10

   11              I HAVE READ THE FOREGOING TRANSCRIPT OF MY

   12         DEPOSITION AND HEREBY SUBSCRIBE TO THE FOREGOING

   13         DEPOSITION, SAID SUBSCRIPTION TO INCLUDE ANY

   14         CORRECTIONS AND/OR AMENDMENTS HERETO.

   15

   16
        ___________________________                _____________
   17   STEPHEN HIEBERT                            Date

   18

   19

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    1                             ERRATA SHEET

    2   PAGE      LINE                   CORRECTION

    3   _____     _____     ____________________________________

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   23   _____     _____     ____________________________________

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   25   _____     _____     ____________________________________
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